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      EXHIBIT A:
       McConley .
          Affidavit


                                                                  EXHIBIT
                                                              Exhibit A - M
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                               IN THE MATTER OF ARBITRATION

 WORLDWIDE FILM PRODUCTIONS, LLC,                       )
                                                        )
                              Claimant,                 )
                                                        )
V.                                                      )
                                                        )       JAMS Claim No.1460006621
JPMORGAN CHASE BANK, N.A.;                              )
JOHN TORRES, an individual; and                         )
RAY DA VIDO, and individual.                            )
                                                        )
                             Respondents.               )

                      AFFIDAVIT OF BENJAMIN FORREST McCONLEY

        Benjamin Forrest McConley, after being first duly sworn upon his oath, deposes and states

as follows:

        1.        I am an adult, over 18 years of age, am competent to testify and have personal

knowledge of the fads set forth below.

        2.        Beginning in or around 2014, I, along with Jason Van Eman, began offering

"matching" financing to investors and producers for the production of motion pictures, among

other projects.

       3.         I, along with my co-conspirators, held ourselves out as being in the film production

financing business. I, along with my co-conspirator, Jason Van Eman, would enter into financing

arrangements with movie producers and investors looking to invest in motion pictures.

       4.         The motion picture investment opportunity generally worked as follows: a

lender/investor, such as Worldwide Film Productions, LLC, would deposit 100% of a film's

budgeted production costs into a designated and "secure" account at a financial institution, such

as JP Morgan Chase Bank ("Chase"). Once that initial deposit was made, one of my companies,

such as Forrest Capital Partners, Inc., was then supposed to "match" the investor's funds with an



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 equal amount of funds belonging to Forrest Capital Partners, Inc. Once this "match" took place,

 the financial institution would then issue a line of credit for 200% of the film's budgeted production

costs. Once the financial institution issued the line of credit, one-half of the proceeds of that line

of credit would be used to pay back the investor's initial investment, plus a fee of 5% of the amount

contributed by the investor, while the remaining amount of the line of credit would be used to

finance the production of the film.

        5.       The deposit of the investor's money would be deposited pursuant to a "funding

agreement", which guaranteed that the investor's cash contributions would be in a secure account

at the financial institution and would not be transferred without the investor's consent.

        6.      The funding agreements required me or my company, Forrest Capital Partners, Inc.

("FCP"), to deposit funds into the secure bank account shortly after the investor provided their

contribution or loan.     To that end, Jason Van Eman and myself instructed investors to

deposit/transfer money into "secure" bank accounts at financial institutions such as Wells Fargo

and JP Morgan Chase Bank. These "secure" bank accounts were actually controlled by myself

and other co-conspirators who assisted in the theft of many investors' funds, including Worldwide

Film Productions, LLC's ("Worldwide") $9,000,000.00.

        7.     According to the funding agreements, after I or FCP deposited the "matching"

portion of the money, I and/or FCP was to apply for a line of credit from the bank using the money

held in the secure bank account as collateral.

       8.      I, along with Jason Van Eman, typically promised in the funding agreements to

obtain the line of credit within 30 to 120 days of the investor's deposit of funds into the "secure"

account. Pursuant to the funding agreements, once the line of credit was issued by the bank, the




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 investor would receive the return of the initial investment, plus a 5% fee for making the investment,

 and the rest of the line of credit would be used to finance the film.

        9.      The problem with this film financing investment, however, is the fact that it was

not a truly legitimate financing vehicle, but rather was a fraudulent scheme designed to steal

investors' money. For example, neither I, nor my company, FCP, ever "matched" any of the

investor's contributions. We also never applied for any liries of credit after the investor made their

initial deposit. And, the bank accounts the investors would deposit their contributions into were

not "secure", but rather were controlled by me and my other co-conspirators.

        10.     In most of the film financing schemes I was involved with, after the investor

deposited their funds into the bank accounts, I, along with my co-conspirators, would promptly

transfer the funds out of the account to other accounts controlled by me and/or my co-conspirators,

including Jason Van Eman.

        11.    This fraudulent scheme to misappropriate investors' funds was largely dependent

on getting bank employees to participate in the fraud and make representations and promises to

the investors in order to get the investors to believe that this "film financing investment

opportunity" was legitimate and had the backing of some of the largest banks in the world,

including JP Morgan Chase Bank. Quite simply, without the bank and the bank's employees

participating in this fraudulent scheme, the scheme would not have been able to work for as long

as it did with as many investors/victims.

       12.     From approximately 2014 - 2016, me, Jason Van Eman, Benjamin Rafael, and

Paul Zoch (an unindicted co-conspirator) ran the film financing scheme using Wells Fagro Bank

as the bank where the investors would deposit their funds. Benjamin Rafael and Paul Zoch were

bankers with Wells Fagro during this time and assisted me and Jason Van Eman in perpetrating



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 the film financing scheme. For example, Rafael would speak with the investors about the funding

 agreement and assure the investors that the funding agreement was legitimate; that the bank (Wells

 Fargo) was behind the transaction; that the investor's money was safe in a secure account at the

 bank; that I, and my company FCP, have the financial wherewithal to "match" the investor's

 contribution; and that the line of credit required by the funding agreements would issue without

any problem. Rafael and Zoch would communicate this information to investors on conference

calls with myself, Van Eman, my attorney, Richard Rossi (also an unindicted co-conspirator) and

the investors in order to get the investors comfortable with making the "investment."

        13.     Then, after the investor made their deposit/contribution into the "secure" account,

Rafael and Zoch would give false assurances and false statements to the investors that their funds

were secure, that the ''match" I was supposed to have made was made, but, in reality, it was not.

Rafael and Zoch would also falsely tell the investors/victims that the line of credit that was

supposed to have been obtained was in the process of being issued, when, in reality, it was not.

        14.     The false statements Rafael and Zoch would make to the investors/victims allowed

the fraudulent film financing scheme to continue and to conceal our unauthorized and improper

transfer of the investor/victims' monies out of the "secure" accounts for our own use and purposes.

        15.    Rafael and Zoch would also send false emails and would assist in the creation of

fake bank documents to further the lies stated above and deceive the investors/victims into

believing that their funds were secure, or that the required "matching" of funds had taken place, or

that the required line of credit was in process of being issued.

        16.    Ultimately, when the investors/victims would eventually demand the return of their

monies, we would refuse the return of the money and would blame bank compliance issues, or




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 other bank delays. We would also use the bank employees (Rafael and Zoch) and the legal team

of Richard Rossi and Adam Falkoffto corroborate the bank "delays" or bank "compliance" issues.

        17.     I, along with my co-conspirator, Jason Van Eman paid Rafael, Rossi and Falkoff

significant sums of money to assist in the theft of victims/investors' funds.

        18.    Eventually, after several investors/victims lost their money, many civil lawsuits

were filed against me, FCP, Jason Van Eman and his company Weathervane Productions, Inc.,

Benjamin Rafael and Wells Fargo Bank.

        19.    Benjamin Rafael was ultimately terminated from his employment with Wells Fargo

Bank and we could no longer use Rafael as our inside bank employee to assist in furthering the

fraudulent film financing scheme.

        20.       As a result of the multiple civil lawsuits that were filed against me and FCP

alleging various financial bad acts, sometime in the summer of2017, I began to have most, if not

all, of my bank accounts closed and/or terminated as a result of being placed on the ChexSystems

banned list.

       21.     In addition, during the summer of20l 7 I learned that my bank accounts with Chase

Bank were also blocked and/or closed as a result of being placed on the ChexSystem banned list.

I also discovered during June 2017 that I was banned from being a signer and/or owner on any

account at Chase Bank due to Chase Global Security placing me on their banned list.

       22.     This was a major concern and problem for me as I knew that we (me and Jason Van

Eman) were close to getting another funding agreement signed with Worldwide Film Productions,

LLC, which would cause Worldwide to deposit $9,000,000.00.

       23.     Jason Van Eman was the main person responsible for getting potential

investors/victims interested in the film financing investment opportunity and then negotiating the



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 tenns of the funding agreement and getting the funding agreement executed. Van Eman was

 responsible for bringing us the Worldwide Funding Agreement.

        24.     In mid-June 2017, I knew that we were close to getting Worldwide Film

 Productions, LLC ("Worldwide") to enter into the funding agreement as the negotiations with

 Worldwide' s legal counsel, Mike Cherry, were ongoing for several months prior.

        25.    Ultimately, in the first part of June 2017, Worldwide, FCP and Weathervane

entered into the Funding Agreement for the financing of the film Bleed into One. A true and

accurate copy of the Funding Agreement is attached hereto as Exhibit 1.

        26.    Pursuant to the terms of the Funding Agreement, Worldwide's contribution/deposit

of $9,000,000.00 was required to be deposited into a "secure" account at Chase Bank and

Worldwide's $9,000,000.00 was targeted to come soon. But, I knew that I could not get a Chase

Bank account opened as I was informed by Chase Bank in early-mid June 2017 that I was on the

banned list for Chase Bank. This concerned me greatly as the Funding Agreement required

Worldwide's funds to be deposited at Chase Bank and I needed to open a Chase Bank account

immediately so that we could receive Worldwide's $9,000,000.00.

       27.     Accordingly, I contacted a friend/business associate from California, Gayle Dickie,

to inquire whether she had any contacts with any bankers at Chase Bank that could assist in

figuring out a "work around" and get me set up with a Chase Bank account so that we could receive

Worldwide's $9,000,000.00 that would be coming very soon.

       28.     Gayle Dickie had a relationship with a Chase Banker in California by the name of

John Torres. Ms. Dickie gave me John Torres's name and number and I called John Torres to see

what he could do to assist me in trying to get a "work around" the ChexSystem ban, as well as the

Chase Global Security ban.



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         29.    I had a brief conversation with John Torres over the phone and Torres assured me

 that he could open an account for me and "get around" the system. On this phone call with Torres,

 I told him that I had $9,000,000.00 coming to me and that I needed a Chase Bank account. Torres

 assured me he could get it figured out. Torres told me to come out to California (from Florida)

 and he (Torres) could figure it out and get an account opened for me. So, I immediately booked a

 flight and flew to California to meet with John Torres, which was somewhere between June 12,

 2017 and June 14, 2017.

        30.    When I arrived at the Chase Bank branch where Torres worked, I met with John

Torres in his office at the Chase Bank branch. I told Torres about the Funding Agreement with

Worldwide, the requirement that the $9,000,000.00 coming from Worldwide must be placed in a

secure Chase account, and that Chase will need to send a confirmation letter confirming the

Funding Agreement. During this meeting, Torres told me that he had researched me in the Chase

system and that getting me listed as a signer or an owner on an account was not possible at this

time given the nature of the ban Chase placed on my name and the FCP name. So, Torres told me

that he (Torres) could simply open the Chase account using my brother-in-law's information to

temporarily get the account opened up right away and then eventually trade my brother-in-law's

information for my information.

       31.     When I first met Torres on or about June 14, 2017, my brother-in-law, Gustavo

Gullo, was with me. Torres told me and Gustavo that opening this initial Chase account in

Gustavo's name will only be temporary and will be the only way we can get the $9,000,000.00

into a Chase account in the near future. Torres told me and Gustavo that he would eventually be

able to get me approved again on a Chase account and we would eventually remove Gustavo from

the account.



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        32.      In addition, during this same meeting, Torres also explained how the account

 should be opened using the creation of a California company, which would further remove me

from involvement as I have conducted my prior business in Florida. Torres also told me to sign

 Gustavo Gullo's name on the Chase signature card and other Chase documents so that when I

needed to sign Gustavo's name for business relating to the account, my signature will be the same

and it will not be any different so no one will ask any questions about having different signatures.

Specifically, Torres told me to sign Gustavo's name so that "it would always match up in the

system."      A true and accurate copy of me signing Gusatvo Gullo's name on the Chase

documentation and signature card is attached hereto as Exhibit 2.

        33.     Gustavo Gullo never signed any account opening documents at Chase. Each

account opening document that was signed by Gustavo Gullo, was signed by me signing Gustavo

Gullo's name-which, again, was done at the direction of John Torres so that everything would

match up in the system.

        34.     At the time this initial account was opened up by Torres, Torres told Gustavo that

the opening of this account in Gustavo's name was only temporary and that he would be removed

from the account soon.

       35.      At the time Torres opened up this new account titled, FCP Master Holding Account,

Inc. (Acct. # 1665), Torres instructed myself and Gayle Dickie on how to open up California

corporations in order to have the name of the business account at Chase mirror the name of the

California corporation. Torres even assisted in getting the California corporation, FCP Master

Holding Account, Inc. set up with the California Secretary of State.




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        36. ·    Torres told me that he was eager to assist in getting this account set up as he wanted

 to have the $9,000,000.00 come into the account that he setup as it would benefit his performance

 and earnings at Chase.

        37.     In addition, when Torres opened up the FCP Master Holding Account on my behalf,

Torres set up the account so that I could do most of the banking online. Torres also took special

care to set up the FCP Master Holding Account so that it would not link up with Gustavo's other

Chase accounts. Torres set up the FCP Master Holding Account for my benefit and I had direct

control and access to the account just as if I was the signer/owner of the account, even though I

was banned from being a signer or owner on any Chase account.

        38.     In   addition,   Torres   directed    me   to   create   a   new    Gmail    account:

oceanskv · product io ns@.g,n1c1 il.com. Torres told me that he (Torres) would use this email account

for my Chase profile in setting up the online banking. Torres said using this email would further

remove my name from the Chase system and Map allow me to conduct business in the accounts.

       39.      Finally, after the account was set up, I requested John Torres to send an email to

Mike Cherry, Worldwide's legal counsel, informing him that Torres was in possession of the

contract for Bleed into One and that FCP will have the confirmation letter that is required by the

Funding Agreement and will deliver it upon receipt. A true and accurate copy of the June 14, 2017

email I requested John Torres to send to Mike Cherry and others is attached hereto as Exhibit 3.

       40.      Also, during this in-person meeting with Torres, Torres made it clear to me that he

expected to be paid for assisting in getting the FCP Master Holding Account set-up and sending

emails regarding the Funding Agreement and Bleed into One Project. Torres made it very clear to

me that if: "I scratch your back, then you will scratch my back." And, with that statement from

Torresi I knew that Torres was very much "pay to play."



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        41.    After Torres made it clear to me that he was willing to do whatever it took to get

 me an account opened up at Chase Bank, as well as assist in providing emails and information to

 investors, I knew that John Torres was now our new Bertjamin Rafael and that Torres would be

the inside Chase banker that would assist in continuing the fraudulent film financing scheme using

John Torres and Chase Bank.

        42.    Accordingly, the very next day after Torres opened up the FCP Master Holding

Account, on June 15, 2017, I paid John Torres $10,000.00 in cash for his role in "getting around

the system" and getting a Chase Bank account set up and sending an email so that we could receive

the $9,000,000.00 from Worldwide.

        43.    Shortly after the FCP Master Holding Account was opened up, Torres and I

discussed Torres's role and the assistance he needed to provide me in order to continue with our

relationship and assist in furthering the film financing "investments." Torres was very focused on

getting paid for his assistance and was adamant that he would assist with what needed done, but

expected to be compensated for his efforts.

       44.     Torres assisted in the drafting and preparation of the Jm1e 14, 2017 "confirmation

letter" Torres referenced in his June 14, 2017 email mentioned above. I was in Torres's office

with Torres on June 14, 2017 going over the contents of the letter and in preparing the letter to

send to Mike Cherry. A true and accurate copy of the June 14, 2017 letter is attached hereto as

Exhibit 4.

       45.    After the initial FCP Master Holding Account was opened up on June 14, 2017,

Gustavo Gullo was never present for any future dealings relating to the opening of new accounts

with Torres or Ray Davido and never signed any Chase account opening statements relating to any

of the accounts at issue. Torres had me sign Gusatvo Gullo's name to all of the Chase Bank



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 docwnents relating to the FCP Master Holding Account, as well as all other accounts involved in

the fraudulent scheme.

        46.     After the June 14, 2017 confirmation letter on Chase letterhead was sent to Mike

Cherry, a conference call was had between John Torres, myself, Mike Cherry, Rob New (owner

of Worldwide) and Jason Van Eman to discuss the particulars of the Funding Agreement with

Worldwide. During that conference call, Rob New and Mike Cherry had several questions and we

did our best to answer the questions.       Also, during the conference call, Torres stated that

Worldwide's $9,000,000.00 would be safe and in a secure account and that he (Torres) would be

the only person who could transfer the money out of the Account and that the money could only

be transferred out of the account if the line of credit issues or fails to issue. Either way, Torres

made it clear that Worldwide's money was safe and secure and that the money would be handled

in accordance with the Funding Agreement-which is precisely what Jason Van Eman and myself

told Torres to say.

       47.     After this conference call, Worldwide wired the $9,000,000.00 into the FCP Master

Holding Account. Within a few days after receipt of the Worlwide $9,000,000.00, we promptly

transferred Worldwide's funds to other accounts for the benefit of myself, Jason Van Eman, John

Torres, Gayle Dickie, and Paul Silverberg, amongst others.

       48.     Thereafter, and in furtherance of the fraudulent film financing scheme, John Torres

would send false email communications to Worldwide and Worldwide's legal counsel, Mike

Cherry, in order to assist in the theft of Worlwide's funds and conceal the theft of Worldwide's

funds. In addition to the false emails, Torres would also regularly communicate via telephone to

Worldwide's representatives, in addition to other victims, and provide false information regarding




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 account balances and account detail ·to further assist in concealing the fraud and theft of

 Worldwide's funds, as well as other victims' funds.

        49.       For example, Torres sent a false email to Mike Cherry telling him that the

 Worldwide $9,000,000.00 had not yet posted, but, in reality, the money had already hit the FCP

Master Holding Account.          At nearly the same time Torres is stating to Cherry that the

$9,000,000.00 had not yet posted, Torres has already transferred a significant amount of money to

Gayle Dickey (I believe to be $1,000,000.00).

        50.       More examples of false emails from Torres are attached hereto as Exhibits 5 and 6

are two (2) emails. Exhibit 5 is an email from me, dated July 6, 2017, addressed to Mike Cherry,

amongst others, stating that FCP's match has been completed and transferred and that I have

instructed the bank, i.e., John Torres, to email and confirm the match.
              ~



        51.       After this email was sent, I had contact with John Torres, either via phone or text,

telling Torres to send an email from his chase.com email address confirming that "the match

contribution is confirmed."       Of course, no "match" was ever made by me or FCP and

$9,000,000.00 was never deposited by me or FCP into any account, let alone the FCP Master

Holding Account where I was to "match" Worldwide's $9,000,000.00. John Torres knew this and

we discussed this. But, I told John to send an email falsely stating that the "match contribution is

confirmed." Accordingly, attached as Exhibit 6 is a true and accurate copy of John Torres's July

6, 2017 email falsely "confirming that the match contribution is confirmed."

       52.        After this email was sent by Torres, Mike Cherry wanted to see account information

and account numbers. True and accurate email communications regarding the request for account

information are attached as Exhibit 7.




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        53.     Although Worldwide's $9,000,000.00 has long since been withdrawn from the FCP

 Master Holding Account, and no "match" was ever made by FCP, Torres, on July 25, 2017, sent

another false email in furtherance of the fraudulent scheme further deceiving Cherry stating that a

project account has been set up and waiting for contributions to hard post. Torres's email was

intentionally false. No project account was set up and there were no funds to hard post. A true

and accurate copy of the July 25, 2017 email from John Torres is attached hereto as Exhibit 8.

        54.     Later, on July 27, 2017, Torres sent another false email in furtherance of the

fraudulent scheme and theft of Worldwide's funds. Torres falsely stated that the contributions

have been done, that FCP matched its contribution in the new production account and that a

statement of the account will be forthcoming. A true and accurate copy of the July 27, 2017 John

Torres email is attached hereto as Exhibit 9. Again, this email is false and was issued by Torres

in furtherance of the fraudulent scheme to steal Worldwide's funds and conceal the theft.

        55.    In furthering the deceit and concealment of the theft of Worldwide's funds, we

(Jason Van Eman and myself, along with Torres) prepared a bogus and false Chase Deposit

Account Balance Summary showing a fake account that had a fake balance of $18,001,000.00.

This fake Balance Summary was prepared to further deceive Worldwide and Cherry in order to lie

and try to convince them that Worldwide's money was secure and that the Funding Agreement

was being followed by FCP having made the "match contribution." A true and accurate copy of

the August 4, 2017 email attaching the Balance Summary and the Balance Summary attachment

is attached hereto and made a part hereof as Exhibit 10.

       56.     The next day, August 5, 2017, in furtherance of the concealment and fraudulent

scheme to steal Worldwide's funds, John Torres sent an email using his chase.com email address

stating that the account statement confirmation that was sent yesterday are legitimate and accurate.



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 Torres sent this false email at our request and in furtherance of the fraudulent scheme. A true and

 accurate copy of the August 5, 2017 email from John Torres is attached hereto as Exhibit 11.

        57.       Later, on August 8, 2017, I send an email to John Torres asking him to confirm the

Account Balance Summary is accurate. A true and accurate copy of the August 8, 2017 email is

attached as Exhibit 12.

        58.       In response to this email, and at my request and in furtherance of the fraudulent

scheme, Torres sent an email on August 8, 2017 and stated that he has reviewed the documents

and the information is current and accurate. A true and accurate copy of the August 8, 2017 email

from John Torres is attached hereto as Exhibit 13. Again, this email was false because no match

has been made and the fake account on the Account Balance Summary never had $18,001,000.00

in the account.

        59.       Later, on or about August 24, 2017, myself, Mike Cherry, Rob New, Jason Van

Eman and John Torres had a conference call to discuss the status of the Worldwide transaction,

the account balances and the issuance of the line of credit. This call was requested by Mike Cherry

as he was growing very upset and frustrated about not being added as a signatory to the accounts

and because he could not have direct access to the account information. Torres responded to all

of Cherry's questions and provided information on that call further confirming that: (i)

Worldwide's $9,000,000.00 was in tact and secure; (ii) the project account for Bleed into One had

a balance of $18,000,000.00 and this account was secure and cannot be used for any other purpose;

and (iii) upon the issuance or non-issuance of the line of credit, Torres and Chase would return

Worldwide's $9,000,000.00 to Mike Cherry's Trust Account. After our conference call, Mike

Cherry sent an email confirming the contents of the conference call. A true and accurate coy of

the August 24, 2017 email from Mike Cherry is attached hereto as Exhibit 14.             From my



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 recollection, the August 24, 2017 email from Mike Cherry accurately memorializes what was

 discussed and what John Torres stated on the conference call. Of course, Torres's statements to

 Cherry were false and in furtherance of the fraudulent scheme.

        60.    On September 28, 2017 and October 5, 2017, in furtherance of the deceit and

concealment of the theft of Worldwide's funds, Torres sent another false email stating that the

draw down process for the line of credit had started. This was a false statement by Torres as we

never applied for a line of credit. This email was a false statement made to further conceal and

deceive Worldwide into believing that the Funding Agreement was being followed and that

everything was proceeding as planned. A true and accurate copy of the September 28, 2017 and

October 5, 2017 emails from John Torres are attached hereto as Exhibit 15 and 16.

       61.     On October 6, 2017 and October 10, 2017, Torres sent more false emails in

furtherance of the concealment of Worldwide's funds by stating that the "wire has been set up",

which was designed to lead Worldwide to believe that the line of credit has been issued and that

Worldwide would receive the return of its $9,000,000.00-just as the Funding Agreement

required. But, again, these were false statements and false emails that were sent in furtherance of

the fraudulent scheme to steal and conceal the theft of Worldwide's funds. A true and accurate

copy of the October 6, 2017 and October 10, 2017 emails are attached hereto as Exhibit 17 and 18.

       62.    From June 2017 through July 2018, John Torres was the banker at Chase Bank who

assisted me and Jason Van Eman in opening accounts and misappropriating approximately

$17,000,000.00 in investor funds that were deposited at Chase Bank using John Torres as the Chase

banker to legitimize the fraudulent financing scheme. The investors/victims that John Torres

assisted in defrauding were: (1) Worldwide Film Productions, LLC; (2) Michael Hassan; (3) Brad

Tuckman; (4) Stuart Benjaim and (5) Josh Minyard.



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        63.     John Torres played the same "banker role" Benjamin Rafael and Paul Zoch played

 as described above. That is, Torres would have a conference call with the investors to legitimize

 the transaction; confirm that FCP and/or myself had the financial means to make any "match

contribution"; that Chase would ensure that the investor's funds are secure and safe and could not

be withdrawn unless done so in accordance with the funding agreement; and that the financing

investment is legitimate. Torres also sent false emails, letters and other communications in

furtherance of the fraud schemes perpetrated on the above-referenced victims/investors. Some of

the same false and fraudulent Chase letterhead documents that Torres created involving other fraud

victims are attached hereto as Exhibit 19.

        64.    In order to have John Torres serve as the inside banker and further the fraudulent

scheme to steal Worldwide's funds, in addition to the other investors/victims, I personally paid

John Torres approximately $400,000.00. Torres's role in sending emails from Chase Bank, being

employed by Chase Bank, having conference calls with Chase Bank and being generally involved

in the transaction(s) was supremely important to the fraud scheme and our ability to legitimize the

fraud that was being committed upon the victims/investors. Quite simply, without John Torres

and Chase Bank, the fraud scheme and theft ofWorldwide's funds would not have been possible.

       65.     Torres knew this and was, therefore, able to demand significant payments in order

to participate in the fraud scheme and legitimize the fraudulent financial "investment opportunity"

through the funding agreements. Torres realized his power and importance to the fraud scheme as

he controlled the bank accounts and would routinely threaten me that if I didn't pay the amounts

he wanted for Torres's role in the fraud scheme, he would should down the accounts.




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        66.     As stated above, Torres was paid approximately $400,000.00 for his role in

 assisting and furthering the fraud scheme. These payments would be in the form of cash payments,

wire transfers, cashier's checks and regular checks.

        67.     During the time that John Torres was assisting in the fraudulent scheme (June 2017

through July 2018), Torres instructed me to make payments to him directly, or to a company he

created or to his wife Rebecca Torres. For example, I texted with John Torres asking him for his

bank information as to where he would like payments sent. Torres texted me back and provided

the name and address of a company by the name of Eastern Worldwide Corp in Calabasas,

California. A true and accurate copy of the screenshot of the text message between me and John

Torres is attached hereto as Exhibit 20.

        68.    I, or one of my companies, Guardian Trust Enterprises, paid John Torres, through

his company, Eastern Worldwide Corp., payments totaling at least $70,000.00. These payments

were for Torres's role, involvement and assistance in the furtherance of the fraud scheme to steal

Worldwide's funds (and others) and conceal the theft. True and accurate copies of the bank

statements and/or cancelled checks evidencing the payments totaling $70,000.00 are attached

hereto as Exhibit 21. I would also go to City National Bank, the bank where Eastern Worldwide

Corp. banked, and would make cash deposits into the account of Eastern Worldwide for the direct

benefit of John Torres.

       69.     As compensation to Torres for his role in the fraudulent scheme, Torres also told

me to make payments payable to his wife, Rebecca Torres. Accordingly, me or one of my

companies, Guardian Trust Enterprises, Inc., paid Rebecca Torres, at John Torres's request, at

least $60,000.00, which payments were for John Torres's involvement and assistance in the




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 furtherance of the fraudulent scheme. True and accurate copies of the cancelled checks and/or

 banks statements evidencing the payments totaling $60,000.00 are attached hereto as Exhibit 22.

        70.     I also have a copy of a cashier's check that I paid to John Torres in the amount of

$7,500.00 for his role/assistance in furtherance of the fraudulent scheme. A true and accurate copy

of the cashier's check is attached hereto as Exhibit 23.

        71.     At this point, I have documented record of payments totaling $137,500.00 that I

paid to John Torres as compensation to Torres for his role in assisting in the theft and concealment

of the theft ofWorldwide's $9,000,000.00, in addition to the other victims identified above. There

are other records of other payments that were paid to Torres for his role in the fraudulent scheme,

but I currently do not have access to those bank records. However, these documents are in the

possession of the United States Government and despite repeated requests to have the documents

returned to me, the Government has not provided me with copies of these documents.

        72.    In addition, attached here to as Exhibit 24, are copies of checks that I made payable

to "Cash" where I used the cash received from these checks to pay John Torres in cash for his role

and assistance in the fraudulent scheme.

       73.     I also paid John Torres in the form of taking him on a private jet, trips to Miami,

Florida at the Ritz Carlton and to Las Vegas. While in Las Vegas as further payment to Torres for

his role and assistance in stealing the Chase victims' funds, I gave John and his wife, Rebecca

Torres, in excess of $25,000.00 in gambling chips from the Bellagio to gamble with. I also took

John and Rebecca to the Mayweather v. McGregor fight in Las Vegas. A true and accurate copy

of the flight manifest evidencing my private jet trip with John Torres and Rebecca Torres is

attached hereto as Exhibit 25.




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        74.     During the time Torres was involved with the fraudulent scheme, Torres and I

 communicated regularly and spent a significant amount of time together. We travelled together,

 went to birthday parties together and communicated via email, text and cell phone. A sampling of

 screen shots of text messages and/or call history logs with Torres are attached as Exhibit 26. In

 these screenshots, when you see the name "John" that is John Torres of Chase Bank. In addition,

pictures of some of our family trips and birthdays together are attached hereto as Exhibit 27.

        75.    Ray Davida, a banker with Chase, was also involved in furthering the fraudulent

scheme. Ray Davido opened the account titled FCP Master Holding Account Restricted for Bleed

Into One, Inc. (Acct. #3790).    Davida opened this account at Torres's request. When Davido

opened the account, Gustavo Gullo, was not present and not in the branch. The only person present

with Davido when this account was opened up was me. Just like the prior account, I signed

Gustavo Gullo's name to the Chase account opening documents. Gustavo was not present on

September 1, 2017 when this account was opened. Davido witnessed me sign Gusatvo Gullo's

name-which was done without Gustavo's knowledge or consent. Torres instructed and directed

me how to open a California corporation with the name of the company match the name of the

bank account. This account was necessary to be opened because Mike Cherry was demanding his

name be added as a signer and an account needed to be opened to have the name "restricted" in it

so as to appear to Worldwide and Cherry that the account is, in fact, restricted when it was not.

Torres told Davido that he (Davido) would be taken care ofby me. I paid Ray Davido $10,000.00

in cash for opening the FCP Master Holding Account Restricted for Bleed Into One, Inc. Account

(Acct. #3790) and assisting in the fraudulent scheme.

       76.    As the fraudulent scheme with John Torres went on, more and more

victims/investors were making complaint to Chase Bank, calling branch managers and making



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 inquiries about the status of their money, which prompted internal investigations by Chase Global

Security. Torres told me that he was able to keep many of the Chase Global Security inquiries at

bay and used his "magic stick" to make the problems go away. Each time Torres had to get

involved, Torres demanded substantial payments. Torres would tell me to "bring the paper." This

was Torres's way of telling me he needed paid for his work in furthering the fraudulent scheme.

Torres would tell me that if he didn't receive substantial payments in the manner he wanted, he

would close down the accounts and go to the FBI.

        77.    On at least two (2) different occasions that I can recall, Torres had me come into

his Chase Bank branch office and answer questions over the phone with Chase Global Security

regarding various inquiries that were being made. Because the signer/owner of the accounts at

issue was Gusatvo Gullo, and because I was blacklisted, Torres told me I had to impersonate

Gustavo Gullo and answer the questions as if I was Gustavo Gullo.

       78.     In the spring-summer months of 2018, Torres kept making more demands for more

payments and threatened to go to the FBI if I didn't pay him more money. Eventually, our

relationship terminated in July 2018 over a disagreement about how much money Torres should

be getting paid for his role in the fraudulent financing scheme. Since July 2018, I have not spoken

with Torres.

     I AFFIRM UNDER THE PENALTIES FOR PERJURY THAT THE FOREGOING
AFFIDAVIT IS TRUE AND CORRECT. FURTHER, UNDER PENALTIES FOR
PERJURY, I DELCARE THAT I HAVE READ THE FOREGOING AFFIDAVIT OF
BENJAMIN FORREST McCONLEY AND THE FACTS STATED IN IT ARE TRUE.




Date: March 12, 2023
                                                            Benj




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                                           FUNDING AGREEMENT

This Funding Agreement ("Agreement") dated as of June 5, 2017, sets forth the tenns and conditions relating to
the provision of funding and purchase (defined below) to be provided by and among the following patties:
WEATHERVANE PRODUCTIONS, INC. ("WVP"), a Nevada corporation, FORREST CAPITAL PARTNERS,
INC. ("FCP") a Florida corporation, WORLDWIDE FILM PRODUCTIONS, LLC. ("DEPOSITOR") an
Indiana company, and BLEED INTO ONE, LLC [TO BE FORMED] ("PROJECT COMPANY") an Illinois
limited liability company to be formed. PROJECT COMPANY is the entity fotmed to effect the creation of the
intellectual property including the exploitation of the motion picture titled "BLEED INTO ONE" (the
"PROJECT"). WVP, FCP, DEPOSITOR and PROJECT COMPANY are individually referred to as a "Party"
and collectively referred to as the "Parties" hereafter.

For good and valuable consideration, including the mutual understandings, covenants and unde1takings herein, the
receipt and sufficiency of which is hereby acknowledged, the Patties hereby agree that the terms of this
Agreement once the Agreement is fully signed shall be binding on the Parties.

1. Pi:.-ties                     •   WEATHERVANE PRODUCTIONS, INC.
                                 •   FORREST CAPITAL PARTNERS, INC.
                                 •   BLEED INTO ONE, LLC. [TO BE FORMED].
                                 •   WORLDWIDE FILM PRODUCTIONS, LLC.

2. Bn~·iness Purpose         The Parties are entering into this Agreement to set forth the terms and conditions
                             pursuant to which the financing for production of the intellectual property will be
                             obtained and funded. The PROJECT shall be based upon the screenplay wlitten
                             by ,Neal Edelstein, and shall be financed and produced pursuant to that ce1iain
                             Term Sheet dated as of March 30, 2017 between WVP and PROJECT
                             COMPANY (the "Project Term Sheet"). The current budget for the PROJECT
                             is US$9,000,000, including financing costs, and is approved by PROJECT
                             COMP ANY and WVP pul'suant to the Project Tel'm Sheet ("Budget").

                             The Pa1ties agree that Neal Edelstein is a Key Man in relation to the PROJECT
                             and will act as producer and director for the PROJECT as per his choice and as
                             set forth in more detail in the Project Term Sheet.

3. Conditions Precedent      For the purposes of this Agreement, "Conditions Precedent" mean:

                                A. DEPOSITOR's receipt of the written confirmation from CHASE to
                                   DEPOSITOR in the form of a bank letter on Chase letterhead in a form
                                   approved by DEPOITOR that confirms, amongst other things, that
                                   CHASE shall only act, in relation to all matters concerning the Project
                                   Master Account and the WVP Line of Credit (as defined below), in
                                   accordance with the provisions of this Agreement;

                                B. The full execution of the Project Te1m Sheet, which the Parties
                                   acknowledge as received as of March 30, 2017; and,

                                C. The full execution of this Agreement.

4. Deposit Amount, FCP          A. Deposit Amount : As soon as reasonably practicable following the full
Investment, Project Master         satisfaction of the Conditions Precedent as determined by the
Account and WVP Line of            DEPOSITOR in its sole discretion (in any event no later than four (4)

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                                                       EXHIBIT

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Credit Amounts and          business days from the execution of this Agreement by each of the
Timing of Payment and       parties), the DEPOSITOR shall deposit (or shall cause to be deposited)
Retur.1 of Amounts          the sum of US $9,000,000.00 (the "Deposit Amount") in the Project
                            Master Account through the Chase hold account (the "Project Master
                            Account") at Chase Bank ("CHASE").

                        B. FCP Investment: As soon as reasonably practicable, not to exceed five
                           (5) banking days following the payment of the Deposit Amount, FCP
                           shall contribute and deposit in the Project Master Account qualifying
                           assets as determined by CHASE in the value of US $9,000,000.00, as
                           fm1her referenced in Exhibit A (the "FCP Investment"). FCP shall
                           assign and contribute the foregoing assets in the Project Master Account.
                           After all funds from the Deposit Amount and FCP Investment settle in
                           the Project Master Account, Chase will confirm in writing to both FCP
                           and Depositor the full amount on deposit in the Project Master Account
                           (which will be the aggregate total of the Deposit Amount and the FCP
                           Investment). That is, as provided in this Agreement, US $9,000,000.00
                           from DEPOSITOR and US $9,000,000.00 from FCP.

                        C. WVP Line of Credit: As soon as reasonably practicable thereafter,
                           subject to the time requirements of CHASE and not to be delayed 01·
                           prevented for any reason by FCP and/or WVP but in any event not later
                           than one hundred and twenty (120) calendar days from the date that the
                           Deposit Amount from DEPOSITOR is credited to the Project Master
                           Account (the "Drop Dead Date"), FCP shall obtain an EIGHTEEN
                           MILLION DOLLAR (US $18,000,000.00) ("Commitment Amount")
                           line of credit (the "WVP Line of Credit"). The WVP Line of Credit is
                           to be used solely for the benefit of DEPOSITOR, PROJECT
                           COMPANY and the PROJECT, and will be drawn down and deposited
                           as set f011h in Paragraph 5 of this Agreement. For clarity, WVP shall not
                           be required to provide the WVP Line of Credit until DEPOSITOR
                           deposits the Deposit Amount in the Project Master Account.

                        D. Return of the Deposit Amount to Depositor (if applicable): The
                           DEPOSITOR funds in the Project Master Account shall be returned to
                           the DEPOSITOR within two (2) business days of the first of the
                           following to occur:
                                a. the WVP Line of Credit is drawn down on or before the Drop
                                    Dead Date (in which instance Paragraph 5 of this Agreement
                                    shall control);
                                b. the WVP Line of Credit is issued but not drawn down on or
                                    before the Drop Dead Date;
                                c, the WVP Line of Credit is not issued on or before the Drop
                                    Dead Date; or,
                                d. the FCP Investment is not made and/or irrevocably deposited in
                                   full into the Project Master Account as set forth above.
                           Any and all Parties herein shall assist DEPOSITOR through any means
                           required for said transfer of funds to DEPOSITOR, including but not
                           limited to, providing immediate signature authorization upon request for
                           said transfer; provided, however, that all Parties to this Agreement
                           acknowledge and agree that execution of this Agreement constitutes the

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                                      necessary authorization for any transfer pursuant to and in accordance
                                      with this Agreement.

                                 E. Interest on Deposit Amount: Notwithstanding the foregoing, in the event
                                    that the WVP Line of Credit is not issued on or before the Drop Dead
                                    Date, then DEPOSITOR may elect, in its sole discretion, to direct
                                    CHASE to retain the Deposit Amount in the Project Master Account,
                                    and in this instance the Deposit Amount shall accrue interest at the rate
                                    of one percent (1 %) of the Deposit Amount per month for each calendar
                                    month that the Deposit Amount remains deposited in the Project Master
                                    Account (the "Default Interest''). In this instance, the Deposit Amount
                                    and the Default Interest shall be immediately paid to DEPOSITOR
                                    within two (2) business days of DEPOSITOR's demand for the same to
                                    be paid, and DEPOSITOR shall have the right to make such demand for
                                    any reason at any time in its sole discretion.

5. Orcler of Deposits from   The WVP Line of Credit will be created and the Commitment Amount drawn
the WVP Line of Credit       down by CHASE (in accordance with the provisions of this Agreement) and
                             deposited in the following order:

                                 A. The first tranche in an amount equal to U.S. NINE MILLION
                                    DOLLARS ($9,000,000) for the sole benefit of DEPOSITOR shall be
                                    paid to DEPOSITOR from the WVP Line of Credit (the "DEPOSITOR
                                    Contribution Repayment");

                                 B. The second tranche of U.S. NINE MILLION DOLLARS ($9,000,000)
                                    from CHASE will be wired to the WVP account designated herein.
                                    WVP will release the capital in the following order: (1) to pay the agreed
                                    fee of 5% of the Deposit Amount (i.e., U.S. FOUR HUNDRED AND
                                    FIFTY THOUSAND DOLLARS [$450,000]) to the DEPOSITOR (the
                                    "DEPOSITOR Fee"); and (2) then the balance of the U.S. EIGHT
                                    MILLION FIVE HUNDRED FIFTY THOUSAND DOLLARS
                                    ($8,550,000) shall be paid to the PROJECT COMPANY for the
                                    PROJECT in accordance with the terms and conditions of the Project
                                    Tenn Sheet (the "FCP / WVP Equitable Contribution"). The FCP /
                                    WVP Equitable Contribution draw shall occur no earlier than five (5)
                                    business days after the DEPOSITOR Contribution Repayment draw.

                             DEPOSITOR, PROJECT COMPANY or PROJECT will not have the obligation
                             to repay any portion of the FCP Investment, the Commitment A.mount or the
                             WVP Line of Credit; only the PROJECT COMP ANY will be obligated to repay
                             the FCP / WVP Equitable Contribution at the terms designated in the Project
                             Term Sheet. PROJECT COMPANY, Neal Edelstein, Charles Leslie and/or
                             Naveen Chathappuram shall not be obligated and/or have any liability of any
                             kind or nature_whatsoever relating to any of the following: the Deposit Amount,
                             DEPOSITOR Contribution Repayment, the DEPOSITOR Fee, any fees, costs
                             and/or amounts owed or payable to DEPOSITOR, the WV Executive Producer
                             Fees, WV Expenses and WV Budget Entitlements, and/or any other fees, costs,
                             payments or amounts of any ldnd or nature that may become due or payable to
                             any of the Parties to this Agreement other then as defined "in the Project Tetm
                             Sheet upon completion of funding.

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6. Te1111                   The term of this Agreement shall commence as of the date of full execution of
                            this Agreement and shall continue until all obligations of the Parties have been
                            fully performed (the "Term"), unless terminated earlier in accordance with the
                            provisions of this Agreement.

7. Legal Entity                 •   WVP is an existing corporation, duly organized under the Jaws of
                                    Nevada.
                                •   PCP is an existing corporation, duly organized under the laws of Florida.
                                •   BLEED INTO ONE, LLC is a limited liability company, that will be
                                    formed and duly organized under the laws of Illinois as soon as
                                    reasonably practicable upon the execution of this DFA.
                               •    DEPOSITOR is an existing limited liability company, duly organized
                                    under the laws of Indiana.

8. Project Account             A. The Project Master Account shall be in the name of DEPOSITOR and
Specifics                         controlled by FCP, WVP and DEPOSITOR, and shall have one
                                  signatory assigned from each of FCP, DEPOSITOR and WVP as
                                  follows: Benjamin McConley (FCP), Rob New (DEPOSITOR) and
                                  Jason Van Eman (WVP).

                               B. The Project Master Account shall operate in accordance with the
                                  relevant account operation mechanics as required by Chase and the
                                  provisions of this Agreement, all subject to DEPOSITOR'S consent.

                               C. The Deposit Amount in the Project Master Account is to be used for the
                                  sole purpose of obtaining the WVP Line of Credit (as defined below) for
                                  the benefit of DEPOSITOR, the PROJECT COMP ANY and the
                                  PROJECT. The Deposit Amount shall not be conveyed, transferred or
                                  otherwise removed from the Project Master Account nor shall it be
                                  assigned, encumbered or otherwise used for any purpose other than for
                                  obtaining the WVP Line of Credit for the benefit of DEPOSITOR,
                                  PROJECT COMPANY and PROJECT.

                               D. For clarity, DEPOSITOR, FCP and CHASE (or its affiliate) shall be the
                                  only entities that deposit any funds into the Project Master Account.

9. Prccedures and Matters      A. FCP is obligated to establish and retire the WVP Line of Credit and will
Between FCP and WVP               protect, defend, indemnify and hold each of the Parties and its respective
                                  members, managers, officers, employees, agents, attorneys, insurers and
                                  all other persons acting through or on .behalf of the Parties, hannless
                                  from and against any obligations related to or arising out of the PCP
                                  Investment and/or the Commitment Amount, the WVP Line of Credit
                                  and the retiring, or repayment of, the WVP Line of Credit and the FCP
                                  Investment and the Deposit Amount. This includes all of the costs of
                                  establishing and retiring the WVP Line of Credit as well as any interest
                                  payments associated with the WVP Line of Credit and any and all other
                                  costs, fees and/or expenses, including without limitation attorney's fees
                                  and/or accounting fees. After DEPOSITOR and PROJECT COMP ANY
                                  have confomed in writing that they have received, in cleared funds, both
                                  the DEPOSITOR Contribution Repayment and the PCP / WVP
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                                  Equitable Contribution in full pursuant to this Agreement and the Project
                                  Term Sheet, WVP, or FCP on WVP's behalf, may utilize the Deposit
                                  Amount to pay down fifty percent (50%) of the WVP Line of Credit.
                                  FCP on WVP' s behalf will pay down the remaining fifty percent (50%)
                                  of the WVP Line of Credit according to an internal schedule. For the
                                  avoidance of doubt, in no event shall repayment of the WVP Line of
                                  Credit by WVP, or FCP on WVP's behalf, (i) reduce the Commitment
                                  Amount (i.e. $18,000,000.00) or (ii) be the responsibility of
                                  DEPOSITOR or PROJECT COMPANY. The Deposit Amount and the
                                 FCP Investment are the full collateral for the WVP Line of Credit. For
                                 the avoidance of doubt, WVP and FCP will be solely responsible for the
                                 WVP Line of Credit, the FCP investment and the Commitment Amount
                                 and no assets or resources of DEPOSITOR, PROJECT COMPANY or
                                 the PROJECT or any rights therein or related thereto will be utilized as
                                 collateral for the WVP Line of Credit other than the Deposit Amount in
                                 the Project Master Account. For clarity, PROJECT COMPANY, Neal
                                 Edelstein, Charles Leslie and/or Naveen Chathappuram shall not be
                                 responsible and/or have any liability of any kind or nature whatsoever
                                 relating to any of the following, including without limitation the return
                                 and/or payment of any such amounts: the Deposit Amount,
                                 DEPOSITOR Contribution Repayment, any fees, costs and/or amounts
                                 owed or payable to DEPOSITOR, the WV Executive Producer Fees,
                                 WV Expenses and WV Budget Entitlements, and/or any other fees,
                                 costs, payments or amounts of any kind or nature that may become due
                                 or payable to any of the Parties to this Agreement other then as defined
                                 in the Project Term Sheet upon completion offunding.

                             B. The FCP / WVP Equitable Contribution shall be paid to PROJECT
                                COMP ANY in accordance with the Project Term Sheet.

                             C. In tbe event that the Deposit Amount is not received in accordance with
                                this Agreement and/or in the event that the WVP Line of Credit is not
                                made available within the time frames set forth in this Agreement,
                                DEPOSITOR, PROJECT COMPANY, Neal Edelstein, Charles Leslie
                                and/or Naveen Chathappuram shall have no further obligations to FCP
                                and/or WVP and the rights of FCP and WVP with respect to PROJECT
                                COMP ANY and the PROJECT set fo1th in this Agreement and in the
                                Project Term Sheet shall terminate immediately.

10. Funding Information   Any and all deposits, disbursements and/or payments made pursuant to this
                          Agreement shall be made in accordance with the respective information:

                             A. Project Master Account:
                                     Account Name:
                                    .FCP Master Holding Account
                                    40 l E Las Olas Blvd STE 130
                                    Ft. Lauderdale FL, 33301

                                    CHASE Bank
                                    80 South West 81h Street,
                                    Miami, FL 33132

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                               ABA Routing: 021000021
                               Account Number: 850239729
                               Reference Memo: BLEED INTO ONE

                       B. DEPOSITOR Account (or such other account as DEPOSITOR may
                          designate in writing to CHASE):
                             Bank: TBD
                             Routing#: TBD
                             Account#: TBD

                       C. WVP ACCOUNT:
                           Bank: Bank of Oklahoma
                           Routing#: 103900036
                           Account#: To Be updated prior to release of the Line of Credit.

                       D. PROJECT CO.MP ANY Account:
                            Bank: TBD
                            Routing#: TBD
                            Account#: TBD

                       E. As security for the repayment of the FCP / WVP Equitable Contribution,
                          upon the irrevocable receipt of the FCP / WVP Equitable Contribution in
                          the PROJECT COMPANY ACCOUNT, the PROJECT COMPANY
                          shall deliver to WVP a security agreement, and mortgage and Title of
                          ownership of the PROJECT and WVP shall be granted a lien over the
                          PROJECT COMP ANY and the receipts from exploitation of the
                          PROJECT COMPANY. The pai1ies shall take no action to hinder the
                          good faith negotiations or delivery of the security documents.

11. Representations    A. Each of the Parties represents, warrants and agrees that: (a) it is or will
                          be a duly organized, valid and extant company authorized to enter into
                          and fully perfonn under this Agreement without the authorization or
                          permissions of any third party or that all such authorizations and
                          permissions were received; (b) there are no contracts, agreements or
                          understandings which will or could reasonably be expected to conflict
                          with its entering into and performing fully under this Agreement; (c) to
                          the best of its knowledge after the exercise of reasonable diligence there
                          are no existing or pending claims, liens, or encumbrances which might
                          adversely affect the Parties' rights or obligations hereunder, and (d) to
                          the ·best of its knowledge, entering into and performing this Agreement
                          does not violate or infringe upon the rights of any third party.

                       B. FCP and WVP represent and warrant the following:

                          (l)· FCP: (i) is an "accredited investor" as such term is defined in
                               Regulation D promulgated by the Securities and Exchange
                               Commission in the Securities Act of 1933, as amended; (ii) has the
                               right to enter into and fully perform this Agreement and the other
                               agreements contemplated hereunder; (iii) is entering into this
                               Agreement and providing the financing provided for hereunder for
                               its own account; (iv) has sufficient knowledge and experience in

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                                   similar ventures so as to be able to evaluate the risks and merits of
                                   the transaction contemplated herein and is able financially to bear
                                   the risk thereof, including a complete loss of the financing provided
                                   for herein; (v) understands that this transaction involves a high
                                   degree of risk and has· independently reviewed the transaction and
                                   the risk, and is not relying on any representation or warranty of any
                                   nature from Parties or any employee, representative or agent thereof,
                                   regarding the likelihood, or lack thereof, of repayment of the
                                   financing provided for herein or any other amounts which may be
                                   payable hereunder,
                              (2) Each of them is in compliance with all material laws, mies, and
                                  regulations relating to obligations set .forth herein or otherwise
                                  affecting the Deposit Amount and the FCP Investment to be
                                  provided hereunder;

                             (3) FCP has ownership, possession, and/or control over a sufficient
                                 amount of liquid assets in order to deposit the FCP Investment in the
                                 Project Master Account;

                             (4) As long as this Agreement is in effect and until their obligations
                                 hereunder are fully discharged or terminated pursuant to the terms of
                                 this Agreement, FCP and WVP shall use the DEPOSITOR'S funds
                                 solely for the purposes set forth herein; and

                             (5) FCP and WVP have informed CHASE Bank of the te1ms and
                                 conditions of this Agreement, and CHASE Bank has confirmed to
                                 FCP and WVP that it intends to comply with all of the terms of this
                                 Agreement upon its receipt of a fully executed copy of this
                                 Agreement.
12. Indemnification   Each of WVP, FCP and DEPOSITOR (each an "l11demnifying Party") hereby
                      indemnifies, holds harmless and agrees to defend the other Pa1iies (the
                      "Indemnified Parties") against any and all third party claims, damages,
                      penalties, liabilities and costs (including reasonable outside attorneys' fees and
                      disbursements) arising from a breach or alleged breach of the Indemnifying
                      Party's representations, warranties or agreements hereunder, except to the extent
                      the Indemnifying Party is entitled to indemnification by one or more of the
                      Indemnified Parties. This provision shaJI survive any termination of this
                      Agreement. Each of the Parties shall be excused from ped'ormance, in regards to
                      time of delivery but not in regards to fulfilling the funding obligation, and shall
                      not be in default in respect of any obligation hereunder to the extent that the
                      failure to perf01m such obligation is due to a natural, financial or political event
                      beyond the reasonable control of the affected Party, also refetTed to as a Force
                      Majeure Event. For clarity, PROJECT COMPANY and its officers, directors,
                      managers, members, employees, agents, licensees and assigns shall be deemed
                      Indemnified Parties for purposes of this Paragraph 12.




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Execution Draft



                                                                                                         If
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 13. Confidentiality; Non-    The Parties shall keep the terms of this Agreement strictly confidential except:
    Circumvention             (a) to the extent disclosure is required to effectuate this Agreement; (b) to the
                              extent disclosure is required pursuant to court order or applicable laws or
                             regulations; (c) each Pa11y may disclose the terms hereof to its professional
                             representatives and advisors on a confidential basis and ( d) to the extent
                             mutually agreed by the Parties. In the event any Party discloses the terms herein
                             to any other party as permitted by this Paragraph, such Patty shall inform such
                             other party to whom it reveals confidential information hereunder of the
                             confidential nature of such info1mation, and shall be liable for any disclosure by
                             such third party. Each Party acknowledges that disclosure of the terms of this
                             Agreement in breach of this Agreement, without prior written authorization of
                             each of the other Parties, may cause harm, financial and otherwise, to the Parties
                             to this Agreement, and any Pa1ty damaged by the disclosure of the terms of this
                             Agreement in breach of this Agreement, without prior written authorization by
                             the other Parties, shall have the right to seek remedy, financial and otherwise. All
                             of FCP I WVP banking and financial relationships are included within the
                             confidentiality provision set out in this Paragraph 13, and any direct
                             communication by any Pa1ty with such banking and financial parties will include
                             the DEPOSITOR, FCP and WVP in such communications.
14, Governing Law;              A. This Agreement has been made in and shall be interpreted and governed by
Binding Arbitration;                the laws of the State of Florida applicable to agreements entered into and
Service of Process and              to be performed fully therein, without regard to ·principles of conflicts of
Waiv~:- oflnjunctive                law.
Relief by WVP and FCP
                              B. Any dispute, claim or controversy arising out of or relating to this
                                 Agreement or the breach, tennination, enforcement, interpretation or
                                 validity thereof, including the determination of the scope or applicability of
                                 this Agreement to arbitrate, shall be detennined by binding arbitration in
                                 Mia1ni, Florida before one arbitrator selected pursuant to the JAMS mies
                                 and procedures. The arbitration shall be administered by JAMS pursuant to
                                 its JAMS' Comprehensive Arbitration Rules and Procedures. The Parties
                                 agree to confidential arbitration and any disclosure of said arbitration or
                                 the parameters of the terms of the dispute, claims or controversy
                                 constitutes an automatically forfeiture of the breaching parties claim. The
                                 Parties hereby agree to waive the right to seek punitive damages or
                                 equitable or injunctive relief and the arbitrator shall not have the authority
                                 to award such damages or relief. Judgment on the arbitration award may
                                 be entered in any court having jurisdiction. The arbitrator shall determine
                                 which Party in any arbitration shall be entitled to recover its reasonable
                                 attorney's fees and costs incurred in connection with the arbitration against
                                 each non-prevailing party.

                              C. Limitation of Liability. A Party's maximum liability for any action for
                                 actual damages arising under this Agreement, regardless of the form of
                                 action and whether in tort or contract, shall be limited to the total amount
                                 the claiming Party deposited into the Project Master Account. In no event
                                 shall the Pa11ies be liable for indirect, special, incidental, or consequential
                                 damages of any kind, however arising, even if advised of the possibility of
                                 such damages. For purposes of this subparagraph (c): PROJECT
                                 COMPANY only acknowledges and agrees that it shall not seek punitive
                                 damages of any kind against any other Party; and, PROJECT COMP ANY

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                               shall not be deemed a Party as set forth in the first two sentences of this
                               subparagraph (c).

                           D. The Parties to this Agreement acknowledge that several individuals have
                              acted as representatives for the Parties in various capacities and each of the
                              Parties hereto agree to waive any rights that they may have to bring a claim
                              against any such individuals as a pa11 of any dispute, claim or controversy
                              arising out of or relating to this Agreement, or the breach, termination,
                              enforcement of this Agreement. Any dispute, claims or controversies
                              resulting from this Agreement covered by this Paragraph shall be limited to
                              the companies executing this Agreement. For avoidance of doubt, all legal
                              actions and remedies shall only be between the corporate entities listed in
                              this Agreement and not the individuals of those organizations.

15. Binding Authority;   The person signing on behalf of each of the Parties represents that he or she has
Assignment               the right and power to execute this Agreement on behalf of his/her respective
                         party and to bind the same to the terms set fo11h herein.

                         This Agreement shall not be assignable by any Pa11y without the prior written
                         consent of the non-assigning Parties provided that DEPOSITOR may freely
                         assign all right, title and interest it may have in and to this Agreement to any
                         other entity that DEPOSITOR controls for any reason. Any other assignment in
                         violation 'of this Parngraph shall be void from the making thereof and of no force
                         or effect. This Agreement shall em1re to the benefit of the Parties and their
                         respective successors and pe1mitted assigns.

16. Tel'mination and     Any Party shall have the right to te1minate this Agreement if:
Notice of Breach
                            A. Another Party materially breaches its obligations hereunder and fails to
                               cure such breach within a reasonable time, not to exceed five (5)
                               business days following receipt of written notice from any Party; or

                            B. The Conditions Precedent as stated in Paragraph 3 and Paragraph 4.A.
                               above, in regards to funding the Project Master Account with respect to
                               Deposit Amount and time of four (4) business days for deposit of the
                               Deposit Amount, are not satisfied within five (5) business days after
                               execution of this Agreement.

                            C. In the event that the Deposit Amount has been deposited into the Project
                               Master Account, the entire amount of the Deposit Amount will be
                               immediately retumed to DEPOSITOR within two (2) banking days of
                               the occurrence of any of the following: (I) any breach of this Agreement
                               by WVP or FCP that is not cured as set forth in Paragraph 15.A. above;
                               or, (2) the failure of CHASE to make the WVP Line of Credit available
                               by the Drop Dead Date set forth herein. Notwithstanding the foregoing,
                               in the event that the WVP Line of Credit is made available prior to a
                               breach of this Agreement by WVP or FCP that is not cured as set fo1th in
                               Paragraph 15.A. above, then DEPOSITOR shall receive the
                               DEPOSITOR Fee in addition to the return of the Deposit Amount within
                               two (2) banking days of such uncured breach.


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                            Neither party shall have the right to terminate, or otherwise "unwind" this
                            Agreement for any other reason not specified in this Agreement.

                            Any Party that is aware of a breach or default hereunder shall give the non-
                            breaching Parties prompt written notice thereof and each Party shall give the
                            other Parties prompt written notice of any changes in management, litigation, or
                            of any other matter which has resulted in or could reasonably be expected to
                            result in a materially adverse change in such Party's financial condition or
                            operations.

17. No Waiver;              No breach of any provision of this Agreement may be waived, and no such
Severability                breach shall be deemed waived, unless such waiver is in writing. The waiver of
                            any breach of this Agreement shall not be deemed to be a waiver of any other
                            breach of this Agreement (or any provision hereof). No provision of this
                            Agreement shall be interpreted for or against any Party because that Party and/or
                            its legal representative drafted such provision. If any provision of this
                            Agreement is or shall be deemed to be invalid, illegal or unenforceable, such
                            provision shall be deemed modified or deleted, only to the extent necessary to
                            render such provision (and the remainder of this Agreement, if otherwise
                            affected) valid, legal and enforceable, and so as modified, this Agreement shall
                            continue in full force and effect.

                            The Parties acknowledge that each, respectively, has reviewed and revised this
                            Agreement and that the n01mal rule of construction to the effect that any
                            ambiguities are to be resolved against the drafting party shall not be employed in
                            the interpretation of this Agreement. All pronouns and common nouns shall be
                            deemed to refer to the masculine, feminine, neuter, singular, and plural, as the
                            context may require.

18. Further Assurances;        A The Parties hereby agree to do such acts and execute such documents
Entire Agreement; Notices        consistent herewith at the request of any other Party as may be
                                 reasonably necessa1y to give full effect to this Agreement and the terms
                                 set forth herein.

                               B. This Agreement and the Project Term Sheet set forth the entire
                                   understanding of the Parties relating to the subject matter hereof, and all
                                   prior understandings, whether written or oral, express or implied, are
                                   superseded by this Agreement. This Agreement may not be amended or
                                   modified except by a writing signed by the Parties. This Agreement may
                                   be executed in multiple counterparts (including by facsimile or email by
                                   a signed/scanned PDF), each of which shall be deemed an original and
                                   all of which, when taken together, shall constitute one and the same
                                   agreement. If there is a conflict between the provisions of this
                                   Agreement and the Project Term Sheet only as relating to PROJECT
                                   COMPANY and WVP, the provisions of the Project Term Sheet will
                                   control.

                               C. All notices and payments which either of the Pa11ies may be required to
                                  give under this Agreement will be in w1iting and will be served by
                                  registered or certified mail, nalionally recognized next-day or same-day
                                  courier service, facsimile (with a copy by registered or certified mail),

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                           electronic transmission, including email (with a copy by registered or
                           certified mail), or personal delivery, as appropriate, as set fo11h below.

                       D. Except as otherwise specified herein, all notices and other
                          communications shall be deemed to have been given on the date of
                          receipt if delivered personally, two (2) business days after posting if
                          transmitted by registered or certified mail or coul'ier service, or the date
                          of transmission if transmitted by facsimile or electronically transmitted
                          (provided that if transmitted after the recipient's regular business hours,
                          then such notice shall be deemed received on the next business day},
                          whichever shall fit-st occur. A 'business day' for the purposes of this
                          Agreement shall mean a day (other than a Saturday or Sunday) on which
                          banks are generally open for business in the United States.

                       E. Until further notice, the addresses of the parties for any such notices or
                          payments shall be:
                                If to DEPOSITOR:
                                (Address)
                                Attn:
                                Tel:
                                Fax:
                                Email

                                  With a copy to:
                                  Myron Cherry
                                  Tel: 312.372.2100
                                  Fax: 3312.853.0279
                                  Email: mcheny@che11·y-law.com

                                  If to BLEED INTO ONE, LLC
                                  (Address)
                                  Attn:
                                  Tel:
                                  Fax:
                                  Email:

                                  With a copy to:
                                  Natarajan Worstell LLC
                                  c/o Ram Natarajan, Esq.
                                  33 N. LaSalle St., Suite 1930
                                  Chicago, IL 60602
                                  Tel: 312.698.8909
                                  Fax: 312.754.3022
                                  Email: ram@nntarajnnlegal.com

                                  And
                                  Weintraub Tobin Chediak Grodin Coleman Law Co1poration
                                  c/o Tara Sattler
                                  10250 Constellation Blvd., Suite 2900
                                  Los Angeles, CA 90067
                                  Tel: 310.860.3331

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                                           Email: lsattler@weintnmb.com

                                           If to: WVP and/or FCP
                                           c/o Jason Van Eman
                                           3900 Green Country Rd. #3524
                                           Bartlesville, OK 74006
                                           Tel: 818-720-3182
                                           Fax: 270-721-1702
                                           Email: wealhervnneproductions@ynhoo.com

                                           With a copy to:
                                           Silverberg & Weiss, PA
                                           c/o Paul K. Silverberg, ESQ,
                                           1290 Weston Rd, Suite 218
                                           Weston, FL 33326
                                           Tel: 954-384-0998
                                           Fax: 954-384-5390
                                           Email: psilverberg@pkslegal.com


The terms of this Agreement shall be binding upon the Parties and their respective successors and pe1mitted
assigns.
                                   [signat11re and notary page to follow]




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Execution Draft
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                                           SIGNATURE PAGE TO
                                   DEPOSITOR_WVP_FCP _BLEED INTO ONE
                                          FUNDING AGREEMENT

AGREED TO AND ACCEPTED:


WEATHERVANE PRODUCTIONS, INC., a                         BLEED INTO ONE, LLC (TO BE
Nevada Corporation                                       FORMED), a limited liability company to
                                                         be fanned in Illinois
I have the authority to bind the company.
                                                         I have the authority to bind the company.

By:._ __ _ _ _ __ _ _
Jason Van Eman                                           By:_ _ _ _ _ _ _ _ _ __
President                                                Neal Edelstein
                                                         (Managing Member}
Date:
                                                         Date:

FORREST CAPITAL PARTNERS, INC.,                          By:_ _ _ _ __ _ _ __
a Florida Corporation                                    Charles Leslie
                                                         (Managing Member}

                                                         Date:
                               /
                                                         By:_ _ _ _ _ __ __ _ _
By:_~ "'-1-":"--"'T'.':".':°M--
Benjami                                                  Naveen Chathappuram
Manag"                                                   (Managing Member)

Date:    ~ ~ ('J                                         Date:




WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability company fonned in Indiana

         I have the authority to bind the company.


         By: _ _ _ _ _ __ __ _ _

         (Managing Member)

         Date:

*THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



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Execution Draft
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                                      NOTARY PAGE TO
                             DEPOSJTOR_WVP_FCP _BLEED INTO ONE
                                    FUNDING AGREEMENT

  ST ATE OF OKLAHOMA
                                            :ss
  COUNTY OF WASHINGTON

 Before me, the undersigned, a Notary Public in nnd for snid County end State, on this _th day of June, 2017, appeared
 personally Jason Ven Eman to me known to be the identical person who executed the within and foregoing instrument
 and acknowledged to me that he executed the same as his free and voluntary act and deed for rhe uses and purposes
 therein set forth.


                                                            Notal'y Public

                                                            My Commission Expires:_ _ _ _ __ (Seal)


 STATE OF FLORIDA
                                      :ss
 COUNTY OF          B£?.-01 d~.t.o __J

 Before me, the undersigned, n Notary Public in and for said County and State, on this {.,th day of June, 2017, appeared
 personally Benjamin McConley to me known 10 be the identical person who executed the within and foregoing
 instrument and acknowledged to me that he executed the same as his free and voluntary act and deed for the uses and
 purposes therein set forth.


                                                            Notary Public

                                                            My Commission Expires : os/0<1    /J.o 19. (Seal}
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                                                   SIGNATURE PAGE TO
                                       DEPOSITOR_WVP_FCP_BLEED INTO ONE
                                                   FUNDING AGREEMENT

      AGREED TO AND ACCEPTED:


      WEATHERVANE PRODUCTIONS, INC., a                         BLEED INTO ONE, LLC [TO BE
      Nevada Corporation                                       FORMEDl, a limited liability company to
                                                               be formed in Tllinois
      I have the authority to bind the company.
                                                               I have 1he authority to bind the company.

      By: _ _ _ __ _ __ _
     Jason Van Bman                                            By:_ _ _ _ _ _ _ __ _ _
     President                                                 Neal Edelstein
                                                               (Managing Member)
     Date:
                                                               Date:

     FORREST CAPITAL PARTNERS, INC.,                           By:_ _ _ _ _ _ __ _ _ _
      a Florida Corpora!ion                                    Charles Leslie
                                                               (Managing Member}
     1 have the authority to bind the compa,ry.
                                                               Date:

     By: _ __ __           _   _   _   _                       By:_ _ _ __ _ _ __ _ _
     Benjamin McConley, MBA                                    Naveen Che.thappuram
     Managing Partner                                          (Managing Member)

     Date:                                                     Date:




     WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability company formed in Indiana

              I have the authority to bind the company.


              By,
                    YtB
                       cl~ "ft-{_~ Nt\N
              (Managing ~ r )

                                                                                                      Alldras Gamarra
                                                                                                       NofalYPublla
     *THE SIGNATURE OF EACH PARTY HERETO SIIALL BE NOTARIZED                                          Stata of Florida
                                                                                                  W COMMISSION I FF 81830
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                                        SIGNATURE PAGE TO
                                DEPOSITOR_WVP_FCP_BLEED INTO ONE
                                       FUNDING AGREEMENT

AGREED TO AND ACCEPTED:


WEATIIERVANE PRODUCTIONS, INC., a                        BLEED INTO ONE, LLC (TO BE
Nevada Corporation                                       FORMED), a limited liability company to
                                                         be formed in Illinois
I have the authority to bind the company.
                                                         I have the authority to bind the company.


                                                         By:_ _ _ __ __ _ _ __
                                                         Neal Edelstein
                                                         (Managing Member)
Date:   6 - J- / 7
                                                         Date:

FORREST CAPITAL PARTNERS, INC.,                          By: _ _ _ _ _ _ _ _ _ __
a Florida Corporation                                    Charles Leslie
                                                         (Managing Member)
I have the authority to bind the company.
                                                         Date:

By: _ _ __ __ _ __                                       By:_ _ _ _ __ _ _ _ __
Benjamin McConley, MBA                                   Naveen Chathappuram
Managing Partner                                         (Managing Member)

Date:                                                    Date:




WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability company formed in Indiana

         I have the authority to bind the company.


         By:_ _ _ __ _ __ _ __

         (Managing Member)

         Date:

*THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



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                                             NOTARY PAGE TO
                                    DEPOSITOR_WVP_FCP _BLEED INTO ONE
                                           FUNDING AGREEMENT

      STATE OF OKLAHOMA
                                                :ss
      COUNTY OF WASHINGTON

      Before me, the undersigned, a Notary Public in and for said County and State, on this .5.th day of June, 2017, appean:d
      personally Jason Van Eman to me known to be the identical person who executed the within and foregoing instrument
      and acknowledged to me lhat he executed the same as his free and voluntary acl and deed for the uses and purposes
      therein set forth.


     BEVERLY S. SWINFORD
Notary Public - State of Oklahoma
 Commission Number 01005837                                      My Commission Expires: f,. ~"i,/.9)/ (Seal)
My Commission Expires Apr 5, 2021



                                          :ss
      COUNn'OF                          __J

      Before me, the undersigned, a Notary Public in and for said County and State, on this _th day of June, 2017, appean:d
      personally Benjamin McConley to me known to be the identical person who executed the within and foregoing
      instrument and acknowledged to me that he executed the same as his free and voluntary act and deed for the uses and
      purposes therein set forth.


                                                                 Notary Public

                                                                 My Commission Expires:._ _ _ _ _ (Seal)
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                                         SIGNATURE PAGE TO
                                 DEPOSITOR_WVP_FCP _BLEED INTO ONE
                                        FUNDING AGREEMENT

AGREED TO AND ACCEPTED:


WEATHERVANE PRODUCTIONS, INC., a                         BLEED INTO ONE, LLC ITO BE
Nevada Corporation                                       FORMED), a limited liability company to
                                                         be fom1ed in Illinois
I have the authority lo hind the c:ompa,~y.
                                                         I have the 1111tliorir11 to hind tM•

By:_ _ _ _ _ _ _ _ __
Jason Van Eman                                           By:_ ~                   ,
President                                                Neal l:de 1cin       ~ -------
                                                         (Managing Member)
Date:
                                                         Date:

FORREST CAPITAL PARTNERS, INC.,                          By:_ _ _ _ _ _ _ _ _ __
a Florida Corporation                                    Charles Leslie
                                                         (Managing Member)
I have the authori~v to bind the company.
                                                         Date:

By:_ _ _ _ _ _ _ _ __                                    B, :_ _ _ _ _ _ _ _ __
Benjamin McConley. MBA                                   Naveen Chathappuram
Managing Partner                                         (Managing Member)

Date:                                                    Date:




WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability company fonned in Indiana

        I have the a111hority to bind the company.


        By:_ _ __ _ _ __ _ _ _ __

        (Managing Member)

        Date:

*THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



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      INDIVIDUAL ACKNOWLEDGMENT
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r     State/Commonwealth of       --h=...£,_-__,_M=--..:<. ..,5r----
      County of _ __,Ci:....:~~/,_,y
                                  ___ _ _ _ ___

      On this the                5·~
                               Day/)       ~/r.,
                                              day of        _ f': :!e
                                                                  , ~ ------'
                                                                              Month
                                                                                                                  __2o·z       Year
                                                                                                                                                . before me.

                               _ ffd,,,1                 .::~ r-'--""---- -                                  the      undersigned            Notary         Public.
                                            Name o        otary Public
      personally          appeared            -~~u_....✓~                E~e ·_Name(s)
                                                                                ie..11c~ - -
                                                                                       of Signer(s)

                                                                                    D personally known to me - OR -
                                                                                    Dlproved to me on the basis of satisfactory
                                                                                      evidence
                                                                                    to be the person(s) whose name(s) is/are subscribed
                                                                                    to the within instrument, and acknowledged to
                                                                                    me that he/she/they executed the same for the
                                                                                    purposes therein stated.

                                                                                    WITNESS my hand and official seal.


                                                                                                                                                       ->
                              PAUL GODERIS
                                Otllci1I Seal
                       Notary Public - State of Illinois
                    My Comml11lon Expires Apr 24, 2019



                                                                                                     Any Other Required Information
                      Place Notary Seal/Stamp Above                                          (Printed Name of Notary, Expiration Date, etc.)

     - - -- - -- -- -- - ---OPTIONAL - - -- - - -- -- - - - - -

          This section is required for notarizations performed in Arizona but is optional in other slates. Completing this
     information can deter alteration of the document or fraudulent reattachment of this form to an unintended document.

     Description of Attached Document

     Title or Type of Document:

     Document Date:

     Signer(s) Other Than Named Above: _ _ _ _
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     ©2014 National Notary Association· www.NationalNotary.org • 1-800-US NOTARY (1-800-876-6827) Item #25936
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                                        SIGNATURE PAGE TO
                                DEPOSITOR_ WVP_FCP_BLEED INTO ONE
                                       FUNDING AGREEMENT

 AGREED TO AND ACCEPTED:


WEATHERVANE PRODUCTIONS, INC., a                          BLEED INTO ONE, LLC [TO BE
Nevada Corporation                                        FORMED), a limited liability company to
                                                          be formed in Illinois
I hm1e the authority to bind the company.
                                                          I have the authority to bind the company.

 By:_ _ _ __ __ __
Jason Van Eman                                            By: _ _ _ _ _ _ _ _ _ __
President                                                 Neal Edelstein

Date:
                                                          Date:

FORREST CAPITAL PARTNERS, INC.,                           By:_,L-.,,L./..,L.~:::........::=.;t.:__:......J,....;;;::::::----=a..
a Florida Corporation                                     Charle
                                                          (Managing Member)
I have the aulhority to bind the company.
                                                          Date:
                                                                                             LUIS ORTEGA
By: _ _ _ _ _ _ _ _ __                                   By:                                  Olflclal Seat
                                                              = -------:......- 'ffl<TIIT'IM>O
                                                                                             : bli'c • State of IIUnols
Benjamin McConley, MBA                                 S~~~l5thappuram         My Commission EKptres Jun 29, 2020
Managing Partner                                       CO~f>JM1Qf~kfember)

Date:                                                  Su~aped and sworn to (or affirmed) before me on this
                                                       ....Q_dayof ~ vie           20_Q_,                      ·
                                                       by Lb Gt(/ {' ~ L e. sue
                                                       proved to me on the ~yis of satisfactory evidence to be
                                                       the person(s) w 6 l:fpeared before me.                ·

                                                       Signatur..,.~:..,4..,Lt.::::a..a=::::..- - - -- - -- ---
WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability cor pany formed in Indiana

        I have the authority to bind the company.


        By:_ _ __ _ _ _ _ _ __

        (Managing Member)

        Date:

*THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



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                                              SIGNATURE PAGE TO
                                 DEPOSITOR wvr FCP BLEED INTO ONE
                                        FUNDING- AGREEM ENT

 AGREED TO AND ACCEPTED:


 WEATHERVANE PRODUCTIONS, INC., a                        BLEED INTO ONE, LLC jTO BE
 Nevada Corporation                                      FORM EDI, a limited liability company to
                                                         be fonned in Illinois
 l lun•e rhe authority Jo bind the company.




                                                         Date:

 FORREST CAPITAL PARTNERS, INC.,
a Florida Corporation

I have the authority to hind the compa,ry.




Date:

                                                                                                 LINDA ZABLE
                                                                                                OFFICIAL SEAL
                                                                                           Notary Public. Stale ol llhno,s
                                                                                            My Commission Expires
                                                                                                 Au1]11~126,2019

WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability company fanned in Indiana

         I hm•e the authority to bind the company.

        By:_ _ _ __ _ _ __ _

        (Managing Member)

        Date:

*THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



(00086259.DOCX;9}                             13 of 14
Execution Draft
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 43 of 147




                                            EXHIBIT A
                                           FCPASSETS

 FCP's assets held by CHASE are liquid assets, These assets include, but not limited to, certificate
 of deposits, capital in savings accounts and money markets, mutual funds, stocks and bonds,
 account receivable, demand and time deposits and precious metals. As a family office there is not
 one set of assets that are utilized as the collateral for the WVP Line of Credit, but a large
 grouping of several families' assets that are held and managed by CHASE. As such any number
 of assets can and will be used to be the collateral for the WVP Line of Credit.




 {000862S9.DOCX;9}                            14 of 14
                             Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 44 of 147


I 111111 111111111111!1 111111111111111111111!1111111111
           BUSINES~ DEPOSITORY CERTIFICATE (Corporation)
           _ X_     NEW _ _ CHANGE

           ACCO U IJ TNO .
                                        - ---------------
                                                                                               1111111111111111 IIIIII II~ llll      lllll l l l 11111111111111111
                                                                                                                           BANK NAME/NUMBER
                                                                                                                                                CHASEO
                                                                                                                                                                              1111111
            916931665                                                                                                       JPMorgan Chase Bank, 'N,A ( 703)
           ACCOUNT TITLE
                                                                                                                           BRANCH NAME A.NO NO.
           FCP MASTER HOUJING ACCOUNT. INC.
                                                                                                                             Oasolo ;,mJ Ventura - I B6238
                                                                                                                           DATE
                                                                                                                            06/14/2017
           BUSINESS ADORES$                                                                                                PREPARED BY
           21140 BRUNNELL CT                                                                                                 JOHN TORRES

                                                                                                                           PHONE NO.
           TOPANGA, CA 90290-<141 ~                                                                                          (B 18) 746-4330
           TAXPAYER ID NO.                                   PRODUCT TYPE
           82-18"3543                                     Cha6e Pralinym Busine~s Chllcking
        le-Jal Name of OrQanization:   FCP NASTER HOLDING ACCOUNT, INC.                                                                                                                  (the "Or;,anization")
        State of Oriianization: __C_A______ _ _________________
        Tha individual(s) signirg this Cer1ificale hereby car!ifies to JPMorgan Chase Bank, N.A. (the "Bank") as follows:
            •      the Organizalion is a corporalion of the type l d~nblled abc;ve. duly org9nlzed L-nde< lhe raws ol lhe stale of organization !Isled -,bova;
                   the individual signing this Ce~ificate is the Sccrelary. Assislanl Secretary. Acting Sec1eteiy, o; Prufdenl, as Usled below, ol the 0 :ganlzalion; and
                   the Organization has au1holized all act,cns and agreements described in this Ce:t iftcate in a!Ccordar:ce with all requirements o : law and ct o,ganiiation'~
                   org,rnlnifonal docurr,ent• '1nd bylaws. if any. a<1d lhe auU-.oriu1ions are now in lull force a~d ~eel.
        Account Opening and Contractual Authorization
        Any of the people listed below t'AuOiorized Persons"), acting alone, may:
                  Open or close one or moie accounls with the Bank at any time, subject to lhe Bank's depooit account agreement:
                  Act on behall or the Organization 11,   ""'Y
                                                           llli<Ue1 lf)V()lvlny ""Y ol !h~ 01ga11i4<1Uun·~ deµ>~it~ry acc<..,ml~ >ti     u,..
                                                                                                                                     BHllk,
                   S;gn ~II ogroomcnl$ or othor de>ournonts ral31ing u, ::iny dopo~ilory accountc or olhrir bu~lnass of 1ho Organiz::,tion. Thoao agt6enten1~ and other documents ir>clude
                   but are not limited 10 funds transfer agr~ernents, agreements for auiomated clearinghouse se~ices, agreemen:s lor online services, a.,d safe deposil agreements.

        Oeposil and Withdrawal Authorlrati on
        Each Authorized Person may depeslt or wahdraw lhe Organr.:~Uon·s lu'lds . Eru:h Au1horized Pcrso., may s19n any and all checks, drafts. a~d o-de1s drawn against any a«0un,
        ol tho o r9aniza1 on at  u,.,                                                                                                                                                             ,~r.,. '"
                                      80111<, amJ rnay glv~ 111:.truc!ion• f1.1r 11cc:iunt tns,,~acliuu,i will1uu1 a slgn•turu , ~ch au lho:,., tnllalerl vi-, t:/echuulc .i~trU, fklY ' ""'" '· w1,~ 11 ..
        other wlthdrav.:al of funds by compuler. electro,iic or other 111eans. The Baril( is authorized ro pay any chocks o : other transaclfons au1h:>ri2ec/ by lhL' Organization. even U C:Ofno
        so causes or increases an ovetdralt. Each Auttiori2ed Per$3n may endorse for cash. oollecflon, deposit or negolial.i:>n any checks . drafts. notes. bila of exc!tange, c-r ce1ince1es
        or <Joposlt, and o•Oll1 11,e p&y111,m1ur 1,un5l11, or money lle.v,.,eo aceoun1~ ')I lhe Bank anll oil-er ~nks. Endorserronis "f01 deposll" ,nay b~ w1 iue11 ur :sl<rmpe~. Tne Ba11k rn~y
        ao:ept ar>y in&lnJIT'ent far depcsil to any deposilory aocounl of lhe Oroaniz;;llcn wilhoul end=ment or moy supply lhe endorscmonl ol the O~anluUor,. Ttle Bank is aulholized
        to pay an checks, dra!ts, and 0<ders when signed. endo~ed, or aull'orized b)• a~y Aulhorlzed Perscn wilhcut lrquiry as 10 the clrcumstancas of issue or disposition o: the
        proceed& and regardlOS!I o( to 'NhO"II such ,nstrumonl6 aro oayab1e or andorsed. lndudlng those payable to or eodorsed lo lhe I\Ol>lorlzed Person.
        PMI Name                                                                                  ·r,tte                                   facs1m11e Signatures
        GUSTAVO GLUD                                                                             "'"P"',e'"'s"ict
                                                                                                               '"e"'
                                                                                                                  ' n;;,.
                                                                                                                      I _ _ _ __ _


                                                                                                                                                                                                 EXHIBIT

                                                                                                                                                                                                        2.
        SlClNER(SI TO BE ADDED LATER


        Facsimile Sign:iture Auth!lrizatlo~
        The Bank ls avthor!Z.cd and directed lo pay checks bca1l ng any fo rm ol lacsimile er computer-generated signature. 11 lhe Organization either uses or prov·,ctes a signature card
        ou:ho,..;ng :my facolmi'o or compulor-gonorated sign ature. the Org:ni2atior, will be •olely rotpol\Cib l~ foronych~ k t:e=ri~g :a similar ,ignatun>.
        Fllrth~r Ac lhorl2n!IOM
        Tha Secretary, Assis /11111 Secrell!ry, Aeling Secreu,ry or President ot the Or9anita/ian, a~Iin9 a/orie. is su!horiz ed to cefil(y IC /he Bank !he name. Ii/le, specimen signature anrJ
        tacslm~e stgnaura 01 gny adaliora1 Au1not1zta t'9rscn, C!/' ro rrrsrrucr Ule l:Ja,,K 10 remove eny Aurncnzej ,-,,r~on. I.ne tsank may rew Oil this cen1/lco1e um// 11 r,,celves
        e~p,ess written nctJce of a cha11g~ or re-vocation
        FOR THE PRECEDING PURPOSES, the undersigned has signed his/her narne(s) on the elate indicated above.
        Exemption from FATCA reporting code (if any) _ _ (Acoording to lhe IRS Form W-9 illstructiO<'ls, if you are only sub mining this form for an account you hold in the United
        Stales, you mey leave this field blank,!
        CERTIFICA T/ON
        rile undersigned car1f/les under pena111es ot pe1Jury that (1) 111e OrganlzaUon ·s Ta~payer tdenliflcallon Number shown above Is couect, and (Z) tfle Offlilnlzat/on rs
        nOf s:ubjoet to backup willlholding bocause: (a) th"' Oroaniz•tion is e><•mpt from b•clcup withholding, or (b) th11 Oro,ir,i:zation has not btlM ,u,tifit,d by th<! lntnrnal
        RQvenue S11rvice (IRS) that ii is subject to backup withholding as II result Of failure ro report all interost or dividends, or (c) the IRS h1ts notified the O,r;anization that
        it is no longer subject to backup withholding, snd (3) the Organization is /I U.S. citizen or other U.S. person (as denned in the Fottrr W-9 Jnstructions), and (4) the
        FATCA coae(•J entvr~ct on rhfs torn, (ir any) rndtcatlng rnar rns urg•nizatlon rs exempt rrom FA-, CA repo111ng Is correct.
                                                n 1hat II ls subject to backup Withholding due to underrepomng interest or dividends en Us 1ax re1um. cross out llem 2 above.
        7/le /nternaf Revenue Se                 not 1equire your consent tc any provision of this document other than tile certifications required lo avoid b1Jokup withholding.

       Slgnalure:                                                                                                                                                              Date: 06/1412017
       Tifle:
       Printed Name:       GUSTAVO GULLO
                                                                        DISl'f<lllU'flON: 11 Nall0na1 Account ~e111,ces 2) (;U&tomer                  JPMorgan l:hase Bank. N.A. Memt:er FDIC

                                                                                         CON~ENTIAL                                                     M1 207-03-CS    CHASE 661
                               Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 45 of 147


I 111111111111111111~ 11111 1111   !Ill
                                      11111111111111111                          1111111111 !II   !Ill lllmll Iii
                                                                                                      I I Ill              111111111111            1111
                 BUSINESS DEPOSITORY CERTIFICATE (Corporation)                                                         CHASE C, •
                 ACCOUNT NO. 916931665



        Slgrn:1tu1tl:      _ _ _ _ __                                                                                  _                  _         Date: _

        Title:

        PrinledName: - - - - --                                                                                            - - ~


        Signature:         _ _ _ _ __                                                                                  _ _                          Date: _

        TIiie:
        PrintedName: _ _ _ _ __                                                                                            _                  _            _


        Signature:         _ _ _ _ _ __                                                                                                   _         Date: _

        Title:
        P1inledNain11: _ _ _ _ __                                                                                          _ __



        Sicnature:         _ _ _ _ _ __                                                                                                   _         Date: _

        Title:
        Prir,tedName: _ _ _ __                                                                               _             _ __


        Signoturo:        _                 _ __ _ __                                                                                     _         Doto: _

        TIC!e:
        PrintedName: _ _ _ _ __ _ _ _


        Si~ature:         _ _ __                                                         _ _ _ _                                                    Date. _

        Title:
        PririledName: _ _ __ __ _ _ _


        Signature:         _                _             _              _               _               _             _ _                          Date: _

        TIiie:
        PriritedNamoe: _ __ _ __ _ _ ~



        Signature:         _ _ _ __                                                                      _             _ _                          Date: _

        Title:
        PrintedNarne: _                     _             _ _ _ _ _ __




                                                              DISTRIBUTION: 1) National Account Services 2) Cuscomer


                                                                                                                                 JPMorgan Chase Bank. N .A Member FDIC

                                                                                        Page 2 O( 2                                                 M1 207-03-CS (03116)




                                                                             CONFIDENTIAL                                                         CHASE 662        (sc~ )
                                                      Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 46 of 147

   CHASEO
           ACCOUNT TITLE ("DEPOSITOR")
                                              Illllll l l l llll l l l l ~I Ill! l!lll ll~l l!lll l l llll
               FCP MAST::R HOLDING ACCOUNT, INC.
                                                                                                                     1111!11 Im 111111111! 1111! Ill~ 11111
                                                                                                      Business Signature Card
                                                                                                                                                 ACCOUNT NUMBER
                                                                                                                                                     ACCOUNT TYPE
                                                                                                                                                                        l~II IIIII IIIII IIII IIII
                                                                                                                                                                     916931665
                                                                                                                                                                     Chase Platinum BllsireS!;' Checking
                                                                                                                                                                                                           lillll.11
                                                                                                                                              TAXPAYER ID NUMBER     B2-1843543
                                                                                                                                                    DATE OPENED      06/14/2017
                                                                                                                                                FORM OF BUSINESS     C-Corporation

           BUSINESS ADDRESS                                                                                                                             ISSUED BY JPMorgan Chase Bari<. N.A ( 703)
               21140 BRUNNELL CT                                                                                                                                     Desoto and Ventura -188238
                                                                                                                                                                     JOHN TORRES
               TOPANGA,CA90290 4413                                                                                                                                  (818) 746-4330
                                                                                                                                                                     06/14/2017

   PRIMARY ID TYPE                                      PRIMARY ID NUMBER                                             ISSUER                              ISSUANCE DATE                              EXPIRATION DA TE
   Certified Artlcles (Certlrcate) o~ lncorpora,lon     _4_03_4_0_5_5_ _ _ _ _ _ _ _ __ __                            Stale of Californi;i                          06/13/2017

   SECONDARY ID TYPE                                    SECOSDARY ID NUMBER                                            ISSUER                             ISSUI\NCE DATE                             EXPIRATION DATE
   None




   ACKNOWLEDGEMENT - By signing this Signature Card, the l:lepcsitcr applies to open a deposit 2coount at JPMorgan Chase Bank,                                •• When you give us your mobile phone number, we ha"le your
   NA (the "Bank"). The Depositor represents and warrants that (i) the signatures appearing beuware genuine or facsimile signatures of                        permission to contact you at Iha! number at:out all your Cha5€ or J.P.
   the person(s) auihorizoo to transaC', businosG and (ii) aU necessary actions or formalities, whoro ncco=ry, havo boon takon to authorizo                   Morgan acoounts. Your con:ie~t alows us to vse lext me$:1agin9, artficill\
   the named person(~) to so acl The Bank is entitled to rely on the autholity of the named personis) until written revocation of such                        or prere<Xllded vdce messages anci autorr.atic <fulling techoclogy ror
   a~-thority is received by fle Bank. Tne Depositor certifies !hat lhe information provided to the Bank :s true to the best of its knowledge and             inforrmlional and account s=ice calls, but not ror lelemaiketing or ~ales
   a1.lhorizces !he Bank, at ls discretion, lo oblain credit ,epo:ls an lhe Depositor. The Depositor acknowledges recei;>t o~ lhe Bank's Depo$il              cans. tl may lr.clu<le oontact from companies woridng en OUf behalf to




                                                                                                                                                             i'~4a=·
   Account Agreement or )!her applicable account agreement. which include all provisions that ap;ily to this deposit account. and other                       seNice your accounts. Message and data rates may app1y. Yov may
   agreements and service terms for acccunt ana~sis and other treasuiy management se;vices if applicable, an:l agree to be tound by the
   terms and condition:. contained !herein as amended from 1/me to Ume.

                     PRINTED NAME                                         "TELEPHONE NUMBER                  TAXPA'i'ER ID fi                TITLE

  1} GUSTA.VOGULLO                                                            ··(508) 564-2564           991-81-<508             Pre-sklent




  2} _ _ _ _ _,---_ _ _ __ __




  3) _ _ _ _ _ _ _ _ _ __ __




  4) _ _ _ _ _ _ _ _ _ __                             _ __




                                                                                                                CONfijD6NTIAL
llllllllM~IIIII                                                                                                                                                                                        .ji,,..CHASE 663 ( " ' ~
                                 Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 47 of 147


11111111111111111111111111111111111 11111111111111111
           BUSINESS DEPOSITORY CERTIFICATE (Corporation)
          _X__NEW _ _ _CHANGE
                                                                                               11111111111 ill 11111 Ill~ 11111\~ 111111111111111111111
                                                                                                                                           CHASEO
                                                                                                                                                                               Il.llffll.l
           ACCOUNT NO.                                                                                                   BANK NAME/NUMBER
           20706:l790                                                                                                     JPMorgan Chase Bank. N.A ( 703)
           ACCOUNT TITLE                                                                                                 BRANCH NAME ANO NO.
           FCP MASTER HOLDING ACCOUNT RESTRICTED                                                                          Oosolo    aro
                                                                                                                                  Ven1ura - 188236: ·
           FOR BLEED INTO ONE, INC.
                                                                                                                          DATE
                                                                                                                            09/0112017
           BUSINESS ADDRESS                                                                                              PREPARED BY
           18627 ROSCO PL                                                                                                   RAV DAVIDO

                                                                                                                         PrlONENO.
           ROSCOE. CA 91356                                                                                                (818) 610-7013
           TAXPAYER ID NO.                                   PRODUCT "TYPE
           82-21i§:l310                                    Chase Plallnum Buslne,:s Checking

        Legal Name a 019amzation:      FCP MASTER HOLDING ACCOUNT RESTRICTED FOR BLEED INTO ONE. INC.                                                                                        (the ·organization')
        Slate '11 Organ1Zaoon: __G_A_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        The individue~•l oigning thia Ccrtifi""' \c hereby ccrtifica to Jl'Morgan Cha•c Bank, N.A. (the 'Bank") "' follow>:
                  lhe Or11•nization i:> a corporation of the type identifilld above, duly organized under the lews of the state of or;ianization l~ted above;
                  the individual signina this Certificate is lhe Secretary, Assistant Secretary, Aeling Secretary.or Fresiden1. as listed below. ofth11 Organization: and
                  lhe Organi~ion has authorized all actions and ~g reements described in this Certificate in accordance with al requirements of law and of Organization's
                  organlzat1onl.1 documents and bylaws, if any, an.I U1e aw,onz.allons are now In full force and errect.
        Account Oponlng and Cont.nactual Authorization
        Any of 1he people listed below ('Authorized Persons") . acting alone. may;
                  Open or close one or more accounts wi1h the Bank a1 any time, subjec11o the Bank's deposil account agreemen~
                  Act on behalf of lhe Organization in any malter involving any of lhe Organizstion's depository accounts al the Bank;
                  Sign all agreement• or other document• ~lating lo any depooilory .accounts or other buoine"" of the Or;ianization. The•e agreements and other documer,15 include
                  but are not limited to funds transfer agreements , agreements for automated deartnghouse services, agreements for online services, and safe depo,it agreements.
         Deposit and Wllhdrawal Authorization
         Each Authorized Penon may deposi1 or withdrew 1he Organization's funds. Each Authorized Pe™>n may sign any ancl all checks. drafts. and order11 drawn agairist any account
         of the Organization at the Bank, and may give instructions tor account transac:tions without a signature. such as those initi•ted via electronic debit, payment, wire transfer, or
         other withdrawal of funds by compu1er, elec1ronic or olher means.        ne
                                                                               Bank is authorized to ;>ay any checks ar other transactions authorized by the Organization, even l doing
         so causes or incraases an overdraft. Each Authorized Person may endorse for cash. collection, deposit. or negoliation any checks, drafts, notes, bills of exchange, orcer1ificales
         of dopoait, and ordor tho paymont or 1ronofor of manoy botwoon a000untn at tho Bof'lk and other banM. Endcr:riemonte. •ror dcpooit" may be wril'tcn or atnmpcd. The Bank may
         accept any instrument for deposrt to any deposltOI)' account a lhe Organization without endorsement or may supply the endorsement of the Organization. The Bank is authorized
         to pay all checks , drafts. and orders when signed, endorsed , or authorized by any Authorized Person wilhoul inquiry as to the circumstances of issue or disposition of the
         proceeds •md regardless of to whom such lnolrumcn~ ore poyoble or ondorsod, including thoso payable to or endorsed to the Authorized Penon.
        Print Name                                                                                TiUo                                    Foc11in,~0 SignaturoG
        GUSTAVO GULLO                                                                             President




                                    lM_Y_R_O_N_M_C_H_R
        SIGNER(Sl TO BE ADDED LATBl ...              _R_v_:p
                                                           --P-10_,o_,_,2_0_11_ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __.

        Facsimile Signatune Authorization
        The Bank is authorized and d1recied to pay checks bearing any form of facsimle or computer-generated signature. Ir the Organization either uses or provides a signature card
        authOnzlng any facsimile or computer-generaled signature, lhe Organiuibon will be solaly 111spons101a tor any check beanng a a1mi12r signature.
        f'urther AuthurizaUoms
        The Secrtlary, Assistant Secretary, Aeling Secretary or President of the Organization. acting alone, is aulhorized ID certify lo the Bank the name, title. specimen signature and
        facsimile signature of any additional Authorized Person, or to inslnJCI the Bank to remove any Authorized Pe~on. The Bank may rely on this Cerlilicale until it receives
        eKpress written notice of II change or revocation.
        FOR THE PRECEDING PURPOSES. the undersigned ha •igned hio/her n,1me(s) an lhe dale indicated above ,
         Exemption from FATCA reporting code (n any) _ _ [According to the IRS Fann W-9 instruc:ions. tt you are only submitting 1his form for an account you hold in the United
         States, you may leave this field blank.]
         CERT/FICA TION
         The undersigned cer1/fles lllder penaflles of perjury Illar (1) the Organization's Taxpayer /dentlflcarJon Number sh-n above Is correct, and (2) the Organization /s
        not =bjot:1 lo bilckup w/lhholdlno b•cau••: (a) Iha Orr,an/z,ol/an /$ eYempt from bacltup wlthholdlng, or {b) the Oru•nlzatlan has not ba•n nolifi■ d by the lntema/
        Revenue Servlc• (IRS) that it Is subject to backup wll/lholdlng as a result of fa/fure to report all intete$t or dividends, or (c) the IRS has notified Ure Organizllf/on that
        i1 Is no longer subJer;t to /Hlckup wllhholdlng, and (3} th<i Orp1nlntion is• U.S. dl/zcn or other U.S. person (u doflned In lhe Form W-9 /nstn,cf/onsJ, and (4) the
        FATCA ,;odfl(s) "nte,o<t on this fomr (if •ny) ind/Gating lh•t Ille Org•nization is ""empt from FATCA reporting ia c;o,rec;t
        If tho IRS ha.G notifiod tho Organlzatlcm thGt it ia :)1.1bj0ct tc bad<.1.1p withholding duo to undan-oportir.g intorcet or diviclonda on ita tax rotutn, cr01sa out itom 2 sbove.

        The lntomal Rav•nua Sc               004 nor re11uire your tonaent to •ny provlaion a( thi~ documanl oUJO,. then the cortiflic;efion~ required to avoid backup withholding.

        Signature :                                                                                                                                                               Date :     09/01/2017

        Title:
        Printed Name:       GUSTAVO GULLO
                                                                         DISTRIBUTION: 1) National Account Services 2) Customer                       JPMoroan Chase Barik N.A. Membor FDIC

                                                                                            CQN!lelOBNTIAL                                              Ml 207-03-CS (      CHASE 715
                                Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 48 of 147


111111111111 llli 11111111111111 llli 11~1111111111111                          Illllll lllllllllllll ill ~Ill lllll lllll l!II IllIii Ill          Il,[1;11
                  BUSINESS DEPOSITORY CERTIFICA fE (Corporation)                                                          CHASE 0
                  ACCOUNT NO. 207063790



        Signature:         _ _ __ _ __                                                                                                                 Date: _

        Tille:

        Printed Name:
                           -                 -           - -- --                                                                                     --
        Sign;.ture:        _ _ __ _ __                                                                                                                Date:_

        Till.,_

        PrintedName: _ _ _ __                                                                                       _ __                                              _



        Signalur2:         -                 -           -                     --                                -~                                    Dale: ~
        Title:
        PrintedName: _ _ _ _ _ _ _ _ _



        Signature:         _                 _           _                 _ __ _                                                                      Date:_

        Titla:
        PrintedName: _ _ _ _ _ _ _ _ _



        Signature:         _ _ _ _ _ _ _                                                                                                               Date: _

        Tille:
        PrintedName: _ __                                                   _                     _                 _                 _ __



        Signature:         _                 _           _                 _                  _                 _                 _                    Date:_

        Tille:

        Printed Name:
                           - -- -- --                                                                                                                --
        Signature:         _                 _           _ _ __                                                                   _                    Date: _

        Tltle:
        PrintedName: _                       _ _ _ _ _ _ __



        Signature:         _                 _ _ _ __ _                                                                                                Dale: _

        Title:
         PrintedName: _                      _ _ _ _ _ _ __




                                                             DISTRIBUTION: 11 National Account Services 2) Customer


                                                                                                                                      JPMorgan Chase Bank, N.A. Member FDIC

                                                                                        Page 2 of 2                                                    M1 207-03-CS (03/16)




                                                                               CONFIDENTIAL                                                       CHASE 716           (~c~)
                                                         Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 49 of 147

        CHASEO
                ACCOUNT TITLE ("DEPOSITOR'J
                                                  11111111111111111m 11111111111~11111111111 m 1111

                   FCP MASfER HOLDING ACCX)UNT RESTRICTED
                                                                                                              1111111111111111111 llll llil ~Ill
                                                                                               Business Signature Card
                                                                                                                                       ACCOUNT NUNBER
                                                                                                                                          ACCOUNT TYPE
                                                                                                                                                                  l~l
                                                                                                                                                               207063790
                                                                                                                                                                        111111111111111111


                                                                                                                                                               C~ase Plalirum Business Checking
                                                                                                                                                                                                      111111
                    FOR BLEED INTO ONE, INC.
                                                                                                                                     TAXPAYER ID NUMBER        XX-XXXXXXX
                                                                                                                                            DATE OPENED        09101i2017
                                                                                                                                       FORM OF BUSINESS        C-Corporaticn

                BUSINESS ADDRESS                                                                                                                ISSUED BY      JPMo:gan Chase B!lnk, N.A ( 703)
                    18627 :'IOSCO PL                                                                                                                           Desolo and Ven:ura · 188238
                                                                                                                                                               RAY DAVI DO
                    ROSCOE, CA 9135€                                                                                                                           (618) 610-7013
                                                                                                                                                               09/01/2017

        PRIMARY ID lYPE                                    PRINARY ID NUMBER                                ISSUER                                   ISSUANCE DATE                            EXPIRATION DATE
        Certined Arfcles (Certificate) of lncorpaation     4059525                                          california                                        08/31/2017

        SECONDARY ID iYPE                                  SECONDARY 10 NUMBER                               ISSUER                                  ISSUANCE DATE                            EXPIRA11ON DA TE
        None


 n
 ~ A.CKNOWLEOGEMENT - By sig1ing Ins Signtiture Card, the Depositor applies to open a deposit account at JPMorgan Chase Bank,                           •• When you give us your mobi)') phooe number,                 1118   haw ~ur
 'Tl NA ~he "Bank'). The Deposlor represents and warrants Iha! (i) the signatures appearing below are ;,eriuine Of facsimile signatures of              permission to contact you at that nLmber about aY you- Chase or J.P.
 -      the perscn(s) aLthoriZed to trinsact business and (ii) all necessary actlons or formaities, Where necessary, have t>een taken to au1hortze      Morgan accounts. Your consenl allows us to use text messaging, artificial
 0 the namec pen;on(s) lo s:, act. fhe Bank is er.titted lo rely on the authority of lhe named person(s) until wri:ten revocation of such               o< prerecorded \'Oice messages and wtomatic dialing tech"lology for
 ~ authority is receivec by the Bank. The Depositoc certties that tte informaton pro,ided to the Bank is true to the best of its knowledge and          informational and account service cals, t,ut net for telemarketing er sales
 -I autho·izes the Bank, al its discret:On, to obtain c.·edit reports on the Deposilor. The Deposilot admON!eclges receipt cl lhe Bank's Depos.t        calls. t. may nclude contad rrom comi:enies working on our oehaF to
        Account .e..gmemen: or ott.er applicable account ag:eement, which indude alt provisions that apply to this deposit account, and other           ssrvtce yrur accourts. Message am wta rates may i!R)ly. Ycu may
 )> agreements and servic~ terms fof accollll analysis and olMr lreasury managemenl seNices if ap1>icabla. and agree to be bound :,y the                contac:: us anytime to change these preferences
 r terms and oonditiora contained lharein as amended lrom time to lime.


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     1) GUSTAVO GJLLO                                                       ··(305} 753-6681      991 ·81 ·450B          Presioent




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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 50 of 147




From:                "Torres, John" <john.torres@chase.com>
Sent:                Wed, 14 Jun 2017 15:21:51 -0600
To:                  "Weathervaneproductions@yahoo.com"
<Weathervaneproductions@yahoo.com>; "Nealedelstein@me.com" <Nealedelstein@me.com>; "Myron
Cherry" <mcherry@cherry-law.com>; "Tsattler@weintraub.com" <Tsattler@weintraub.com>
Subject:             Confirmation




To whom it may concern,

I'm in receipt of the contract for project" Bleed into One", FCP will have the confirmation letter and will
deliver upon receipt.

Sorry for the delay.




John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

lames Kirkham I Branch Manager I james.w.kirkham@chase.com I T: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
994-5626. You can also visit us on our Chase Mobile® app or on chase.com. Chase Mobile® app is
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data rates may apply.
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   N.A. and its affiliates. These assets are segregated by law and are not subject to FDIC or SIPC coverage. Other investment
  products and services are offered through J.P. Morgan Securities LL C (JPM S). a member of FINRA and SIPC. Annuities are
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 Agency Services, Inc. in Florida. JPMS and CIA are affiliates of JPMorgan Chase Bank, N.A. Products not available fn all states.

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CHASEO


 June 14, 2017



 Forrest Capital Partners, Inc
 401 E Las Olas Blvd Suite 130
 Ft Lauderdale Florida 33301



 RE: Weathervane Productions - Worldwide Film Productions, LLC.




Mr. McConley and Mr. VanEman:

Per your request, this letter is to confirm receipt of your instructions for opening your special
purpose holding account. We have received the necessary corporate documents needed to
open the holding account for your new project. We stand ready to open the project master
account once the holding account has been funded. The appropriate funding account for the
contribution is the following:

FCP Master Holding Account - Account Number: 916931665.

The authorized signatories of this project account have represented the account is to be
opened and managed in accordance to the Depositor Agreement between said parties to the
project known as "Bleed into One" and we confirm the same. To be clear, you have requested
a new account to be opened in the name of project master account for Worldwide Film
Productions, LLC. utilizing your state filed corporate documents as well as your Federal EIN
numbers you have provided.

Once this project master account is created with all signers being properly verified, I will
forward you all appropriate information and documentation for your record. This project
account which you intend to use ·as a project specific funding account, for your matched funds
model will be able to receive the funds that you are allocating for the creation of a CHASE Bank
credit line to ultimately fund a movie project known as "Bleed Into One", as well as return
those being matched by Worldwide Film Productions, LLC. via incoming wire. I understand your
int~ntions for this account are to be used only to hold the contribution from both Worldwide
Film Productions, LLC. and Forrest Capital Partners, on behalf of the project. Forrest Capital
Partner's accounts are in good standing and the allocated funds in such accounts amounts to
over US$9,000,000 and are free of any restrictions or holds.




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   Once the terms and conditions of Section 4.A and B. of the Depositor Agreement are satisfied,
   CHASE Bank will be opening an additional account and issuing a line of credit in the amount of
 · US$18,000,000 in the name of Weathervane Productions, Inc. / Worldwide Film Productions,
   LLC. to be used accordingly. Per your request, we will await your instruction as per the
   Depositor Agreement once the account is opened and funded.

 Thank you once again for doing business with CHASE Bank and I look forward to working with
 you and managing your new project match account.

 Highest Regards,


~J~,,------
 Vice President
 Private Client Banker
 (818) 746-4330
 Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 54 of 147




From: Ben McConley (bmcconley@aol.com)
Sent: Thursday, July 6, 2017 4:17:00 PM
To:    weathervaneproductions@yahoo.com (weathervaneproductions@yahoo.com);
tsattler@weintraub.com (tsattler@weintraub.com); nealedelstein@me.com
(nealedelstein@me.com); Myron Cherry (mcherry@cherry-law.com)
Cc:
Bee:
Subject:     Match Contribution

FCP's match has been completed and transferred. I have instructed and
given authorization for the bank to email and confirm the same.  I would
expect this in short order.

An acknowledgement letter will follow this email from my office.

We are excited and looking forward to working together.

Regards

Ben McConley

This email has been scanned for email related threats and delivered safely
by Mimecast.
For more information please visit http://www.mimecast.com




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   Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 55 of 147




From:                "Torres, John" <john.torres@chase.com>
Sent:                Thu, 6 Jul 2017 16:43:10 -0600
To:                  "Weathervaneprod uctions@yahoo.com"
<Weathervaneproductions@yahoo.com>
Cc:                  "Myron Cherry" <mcherry@cherry-law.com>
Subject:             Match Contribution




Good afternoon,

I'm confirming that the match contribution is confirmed.




John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

James Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
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From:                 "Myron Cherry"
Sent:                Thu, 6 Jul 2017 21:11:31-0600
To:                   "WVP" <weathervaneproductions@yahoo.com>; "Torres, John"
<john.torres@chase.com>
Cc:                   "Ben McConley" <bmcconley@aol.com>
Subject:              RE : Match Contribution



Please provide account info and numbers so we can all see the balance on a sheet

Myron M. Cherry, Esq.
Myron M. Cherry & Associates, LLC
30 North LaSalle Street, Suite 2300
Chicago, IL 60602
Office: (312) 372-2100
Fax: (312) 853-0279
E-mail: mcherry@cherry-law.com


From: WVP [mailto :weathervaneproductions@yahoo.com]
Sent: Thursday, July 06, 2017 6:37 PM
To: Torres, John <john.torres@chase.com>
Cc: Myron Cherry <mcherry@cherry-law.com>; Ben McConley <bmcconley@aol.com>
Subject: Re: Match Contribution




John,
 Thanks for the confirmation .




Thanks again,

Jason VanEman
President, Weathervane Productions, Inc.
weathervaneprod.com

cell: 818.720.3182
fax: 270.721.1702
skype: weathervaneproductions
Weathervane Productions [us

-------- Original message --------
From: "Torres, John" <john.torres@chase.com>
Date: 7/6/17 5:43 PM (GMT-06:00)




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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 58 of 147




To: Weathervaneproductions@yahoo.com
Cc: mcherry@cherry-law.com
Subject: Match Contribution



Good afternoon,




I'm confirming that the match contribution is confirmed.




John Torres I Chase Private Client I Private Client Banker! NML5 ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

James Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

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regulations.
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From:                "Torres, John" <john.torres@chase.com>
Sent:                Tue, 25 Jul 2017 18:16:33 -0600
To:                  "Myron Cherry" <mcherry@cherry-law.com>; "WVP"
<Weathervaneproductions@yahoo.com>
Cc:                  "Ben McConley" <bmcconley@aol.com>
Subject:             Project Account




Mr. Cherry and Mr. VanEman,
I hope this email finds you well. The project account has been set up and waiting for approved
contributions to hard post. I will update you accordingly, I will be releasing statements to be forwarded
to you.

Sincerely,

John Torres.


John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

lames Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
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From:                "Torres, John" <john.torres@chase.com>
Sent:                Thu, 27 Jul 2017 13:46:01-0600
To:                  "Myron Cherry" <mcherry@cherry-law.com>; "WVP"
<Weathervaneproductions@yahoo.com>
Cc:                  "Ben McConley" <bmcconley@aol.com>
Subject:             Production Account




Good Afternoon gentlemen,
 The contribution for world wide film productions has been done, FCP has matched its contribution in to
the new production account. I will provide my client with the statement of the account once it is
generated, if there are any questions feel free to reach me.

Sincerely,

John Torres

John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com IT: 818-746-4330

James Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 64 of 147




From:                "Jason Van Eman" <weathervaneproductions@yahoo.com>
Sent:                Fri, 4 Aug 2017 09:33:05 -0600
To:                  "Myron Cherry" <mcherry@cherry-law.com>; "NEAL EDELSTEIN"
<nealedelstein@me.com>; "Ben McConley" <bmcconley@aol.com>
Cc:                  "Charles Leslie" <charlesleslietwo@gmail.com>; "Naveen Chathappuram"
<nc@immortalthoughts.com>
Subject:             Fw: Bleed Into One - Worldwide
Attachments:         chase.pdf




Mike,
 Please see the scanned account balance sheet for the Chase account 929910698.

Ben asked me to apologize for him not being able to get it scanned and sent last night,
his did not work and he had to stop at a fedex this a.m. on his way to do some testing at
the hospital.

When Ben is back in the office late today he will re send this information along with
an additional document CC'ing John Torres at Chase asking Mr. Torres to confirm the
information is accurate and the balance is current.

Thanks again,

Jason VanEman
President, Weathervane Productions, Inc.
weathervaneprod .com

cell: 818.720.3182
fax: 270.721.1702
skype: weathervaneproductions
Weathervane Productions [us]



   Weathervane Productions [us]
   Weathervane Productions - Filmography. Join IMDb Pro for more
   details!




Jason Van Eman




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   Jason Van Eman
   Jason Van Eman, Producer: Jane Got a Gun Jason Van Eman was
   born on November 22, 1977 in Tulsa, Oklahoma, USA ....




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- - Forwarded Message - -
From: Ben McConley <bmcconley@aol.com>
To: weathervaneproductions@yahoo.com
Sent: Friday, August 4, 2017 10:22 AM
Subject: Bleed Into One -Worldwide
     Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 66 of 147




  CHASE0                                                                 Deposit Account Balance Summary


     07/31/2017

    Requester information:
     FORREST CAPITAL PARTNERS, INC.
     FOR BLEED INTO ONE - W

     401 E LAS OLAS BLVD STE 130
     FORT LAUDERDALE FL 33301
                                                                                       ··-   ------·- -·-- - - - ----i
                                                            Summary of Deposit Account
  ----··-~-                                                                                   I
 -Account Number
     ·--~- ---
                                           Account Type                   Open Date               Current Balance                ~~!! B~l~.n-~_E!J.1~ mos)
                                    Chase Platinum Business
       929910698                           Checking                       07/07/2017              $18,001,000.00                              NIA

                                                                   Customer Information
                                                                                                                                             -
                                                                                                                               - ----- - . -
  FORR~ST_ CAPITAL PARTNERS, INC:                                               .        Sole Owner
  BENJAMIN MCCONLEY                                                                      Signer
 - -·                                                                                                                                                      --· -
 ---·--,,- ·'              - -                 --    -         -            .           .           .       -·            -
                                                                                                        ·· --         - ...         -    "




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                                 ---·   .,.,        -        - -· -        --                            ··-- -· ·- --·- - ···                     - - -·
Deposit Account Balance Summary request completed by:

 JOANN E ADLER
 (818) 746-4325
 Desoto and Ventura




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responslmllly Is to allach lo lhis bank or any of Hs officers, employees or agents Illy the issuance or conlenls of the lellerwhlc:h Is provided In good fallh
and in reliance upon lhe assurances of confldenllallly provided lo this bank. lnformallon and expreoslons ol opinion of any type contained herein are
obtained from the records ol this bank or other eouroes deemed reliable, wllhout lndepenaent Investigation, but such lnformalion and expressions are
subject lo change wllhcul notice and no representation or warranty as to the accuracy or sueh lnfotmlllion or the rellabllly of lhe sources Is made or
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bank. This bank does nol undertake to noury 01 any changes in the information conlained in lhls lellet. Any reliance is at the sole risk or the
addres•ee.
    Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 67 of 147




  CHASE0                                                                  Deposit Account Balance Summary


     07/31/2017

    Requestor information:
     FORREST CAPITAL PARTNERS, INC.
     FOR BLEED INTO ONE - W

     401 E LAS CLAS BLVD STE 130
     FORT LAUDERDALE FL 33301

r----                                                        Summary of Deposit Account


                                                                                                                     ---,l
                                                                                               I
I Account Number                          Account Type                      Open Date
                                                                                                   . .Current
                                                                                                      ..      Balance                 A~g Bala~~-! (12 mos)
                                     Chase Platinum Business                                                                      I
        929910698                           Checking                       07/07/2017              $18,001,000.00                               NIA
                                                                                               I                                  I             --                      I
                                                                   Customer Information
                                                                                                                                                       -- ..... -
  FORREST CAPITAL PARTNERS, INC.                                                             Sole Owner
                                                                                              ·--                                               --·- ·-·-----           ]
  BENJAMIN MCCONLEY
                                             ·-·--- - ·-·••-                            Signer                                                                     ..   I
                                                                                     ·-,__.
 - ---                  - -            -- · -- - . ·- __._ . " . .                                           -      ··~,..   __        -
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I_             -- -·
Deposit Account Balance Summary request completed by:

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 (818) 746-4325
 Desoto and Ventura




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and in rellance upon lhe assurances of confldenUellty provided lo this bank. lnlormallon and expresslOns DI opinion of MY type contained herein are
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bank. This bank does not undertake lo noUfy of any changeG in Iha inlormallon contained In lhls letter. Any reliance Is al lhe sole risk or the
8<1dressli8.
  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 68 of 147




From:                "Torres, John" <john.torres@chase.com>
Sent:                Sat, 5 Aug 201710:33:24 -0600
To:                  "Myron Cherry" <mcherry@cherry-law.com>; "WVP"
<Weathervaneproductions@yahoo.com>
Cc:                  "Ben McConley" <bmcconley@aol.com>
Subject:             Match Contributions




Good morning gentlemen,
Account statement confirmation, I am aware of my client forwarded the balance verification form, which I
provided to him. Toe balances are accurate to date. Your initial contribution and my clients
obligated match have been funded in the newly created account of which was provided on the statement.
I will update in the course of progress with clearance from my client, over the next few weeks.

Sincerely,

John Torres.

John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

lames Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 69 of 147




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regulations.
  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 70 of 147




From:                "Benjamin McConley" <bmcconley@aol.com>
Sent:                Tue, 8 Aug 2017 17:19:50 -0600
To:                  "John Torres" <john.torres@chase.com>
Cc:                  "Jason Van Eman" <weathervaneproductions@yahoo.com>; "Myron Cherry"
<mcherry@cherry-law.com>
Subject:             Fwd: Bleed Into One - Worldwide
Attachments:         chase.pdf




Hello Mr Torres,
Please confirm the attached information is correct. As we discussed, additional confirmation
was requested.
Thanks again for your patience with our new partnership.
Highest Regard
Ben




                                                                                               EXHIBIT
                                                                                        j      ,,.
     Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 71 of 147




  CHASEO                                                                 Deposit Account Balance Summary


     07/31/2017

    Requestor information:
     FORREST CAPITAL PARTNERS, INC.
     FOR BLEED INTO ONE - W

     401 E LAS OLAS BLVD STE 130
     FORT LAUDERDALE FL 33301

                                                             Summary of Deposit Account


 -Account
      -- Number
          - - ----Account Type
                                    Chase Platinum Business
                                                                           Open Date              Current Balan~!___              Avg _Balance (12 mos).

        929910698                          Checking                        07/07/2017             $18,001,000.00                                NIA
- - - ----~~ - - - -- - - ---'-- -----'--------.,___
                                                                   Customer Information
                                                                                                                                  ___ --
  FORREST_CAPITAL PARTNERS, INC:                                                          Sole Owner
  BENJAMIN MCCONLEY
                                                                                              ---------- -------·-
                                                                                          Signer
- - - - - -----------------~~--- - - - - - - ----------- -
                                                                                                                                          -    · -----

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                                        ,__     -- ----- -- --- ·- -                         ___                                                                  -- ·
Deposit Account Balance Summary request completed by:

 JOANN E ADLER
 (818) 746-4325
 Desoto and Ventura




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     Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 72 of 147




  CHASEO                                                                   Deposit Account Balance Summary


       07/31/2017

     Requestor information:
       FORREST CAPITAL PARTNERS, INC.
       FOR BLEED INTO ONE - W

       401 E LAS OLAS BLVD STE 130


r-·
       FORT LAUDERDALE FL 33301

                                                                  Summary of Deposit Account

l Account Number
 ~--------<,___C
                    Account Type
               _h_a_se_ Pl_a_lln_u_m_B
                                     _u_s_in-es_s_j,____
                                                                       I
                                                     Open Date : Current Balance / Avg Balance (12 mos)
                                                                                     . . . ....                              !
    929910698            Checking                   07/07/2017         I
                                                                 $18,001,000.00            N/AI                              I
                                                                     Customer Information                                                    -- -                 I
  FORREST CAPITAL PARTNERS, INC.
                                                                                   Signer
                                                                                          So_l_e _O_w
                                                                                                    _n~ - - - - - - - - --- ..-··-                               _J
  BENJAMIN MCCONLEY
                                               __ __, ,.., ,.._   - - ····---· - - -·--   - - -- - -------·---.



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Deposit Account Balance Summary request completed by:
                                                                                                                                                                  I
 JOANN E ADLER
 (818) 746-4325
 Desoto and Ventura




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obtained from lh" records of this bank or other sources daemed reliable, wllhoul lndependenl Investigation, but such inlormellon and e,pres&ions are
oubject lo change wllhout nollce and no represenlBlion or wa,ranly as to Iha accuracy of such inlormallOn or the reliabilty of the sourceo la made or
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ll<ldressfi8.
  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 73 of 147




From:                "Torres, John" <john.torres@chase.com>
Sent:                Tue, 8 Aug 2017 17:43:59 -0600
To:                  "WVP" <Weathervaneproductions@yahoo.com>; "Myron Cherry"
<mcherry@cherry-law.com>
Cc:                  "Ben McConley" <bmcconley@aol.com>
Subject:             Confirmation




Hello gentlemen,
I have reviewed the documents, the information in current and accurate.



John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

James Kirkham I Branch Manager I james.w.kirkham@chase.com I T: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 74 of 147




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regulations.
  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 75 of 147




From:                   "Myron Cherry"
Sent:                   Thu, 24 Aug 2017 18:18:36 -0600
To:                     "Torres, John" <john.torres@chase.com>
Cc:                     "jason@wvp-inc.com" <jason@wvp-inc.com>
Subject:                phone call with me, Rob New and others re Bleed to One Movie Deal



To John Torres JP MORGAN CHASE BANK:

On today's phone call with Rob New and me (and others including Jason Von Eman and Ben McConley)
you confirmed on behalf of JP MORGAN CHASE BANK and yourself as a private wealth officer with said
BANK the following regarding the Forrest Capital Partners-Worldwide Film-Bleed to One Contemplated
Movie Transaction (hereafter sometimes called Worldwide):

1. That you are familiar the Worldwide transaction and have been provided documentation regarding
the transaction, including regarding Worldwide and Bleed to One companies' participation;
2. That Myron M Cherry will be added as a signatory at your Bank to the Forrest Capital Partners-
Worldwide Film Bank Account ( which account you confirmed presently has eighteen (18) million and
one dollars) so that Mr. Cherry or other authorized representative of Worldwide are considered clients
of Bank and may call you and obtain information from time to time regarding this account. You
confirmed that no transactions may be made on this account without the express approval of all
signatories.
3. That the aforementioned Worldwide and Bleed to One account of eighteen ( 18) million and one
dollars is segregated solely for the Worldwide transaction and the Bleed to One Movie and cannot be
used for any other purpose , including cannot be used for any other McConley companies or
Weathervane companies; this account is specific to the Bleed 2 One letter of credit deal including
returning the matched nine (9) million dollars to Worldwide's representative;
4. That upon issuance or non- issuance of the contemplated eighteen (18) million dollar line of credit for
the Bleed to One movie project, then JP MORGAN CHASE directly and not thru any other person or
entity will wire transfer nine (9) million dollars to Mr. Cherry's Trust Account, the same Trust Account
which sent a wire transfer of nine (9) million dollars to JP MORGAN CHASE in June 2017; and
5. That your immediate superior is James Kirkum.

    Please confirm receipt of this email and make any corrections you deem appropriate if my summary
is not accurate

Myron M. Cherry, Esq.
Myron M. Cherry & Associates , LLC
30 North LaSalle Street, Suite 2300
Chicago, IL 60602
Office: (312) 372-2100
Fax:    (312) 853-0279
E-mail: mcherry@cherry-taw.com




                                                                                                         EXHIBIT

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   Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 76 of 147




From:                 "Torres, John" <john.torres@chase.com>
Sent:                Thu, 28 Sep 2017 18:04:43 -0600
To:                   "Benjamin McConley" <bmcconley@aol.com>; "Jason Van Eman"
<weathervaneproductions@yahoo.com>; "Myron Cherry" <mcherry@cherry-law.com>
Subject:              Close to Closing




Good evening gentlemen,
I want to notify you gentlemen that the draw down and process has started. I will keep you
informed and will get wire information from McConley and his office in respect to funding your
accounts.

Looking forward to wrapping this up.

Sincerely,

John Torres

John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

James Kirkham I Branch Manager I james.w.kirkham@chase .com IT: 818-746-4324

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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 77 of 147




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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 78 of 147




From:                 "Torres, John" <john.torres@chase.com>
Sent:                Thu, 5 Oct 2017 13:20:20 -0600
To:                   "Myron Cherry" <mcherry@cherry-law.com>; "Jason Van Eman"
<weathervaneproductions@yahoo.com>; "Benjamin McConley" <bmcconley@aol.com>
Subject:              Update




Good afternoon gentlemen,
Everything is processing and being completed. I will confirm once it's out.

Thank you for your business.

John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com I T: 818-746-4330

James Kirkham I Branch Manager I iames.w.kirkham@chase.com IT: 818-746-4324

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   Bank deposit accounts, such as checking and savings, may be subject to approval. Deposit products and related services are
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 Certain bank managed advisory products and related services, such as custody services, are offered by JPMorgan Chase Bank,
   N.A. and its affiliates. These assets are segregated by law and are not subject to FDIC or SIPC coverage. Other investment
  products and services are offered through J.P. Morgan Securities LLC (JPMS), a member of FINRA and SIPC. Annuities are
 made available through Chase Insurance Agency, Inc. (CIA), a licensed insurance agency, doing business as Chase Insurance
 Agency Services, Inc. in Florida. JPMS and CIA are affiliates of JPMorgan Chase Bank, N.A. Products not available in all states.

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you are located; and will be treated in accordance with JPMC's policies and applicable laws and
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From:                 "Torres, John" <john.torres@chase.com>
Sent:                Fri, 6 Oct 2017 17:29:28-0600
To:                   "Myron Cherry" <mcherry@cherry-law.com>; "Jason Van Eman"
<weathervaneproductions@yahoo.com>; "Benjamin McConley" <bmcconley@aol.com>
Subject:              Wire Initiation




Good afternoon gentlemen,
I can confirm the wire has been set up. As it is after the wire deadline (2:00pm PSD), I would
expect it to be released to your account on Tuesday. I will forward the FED reference number as
soon as I receive it. Unfortunately Monday being a holiday, it will be Tuesday.

Thank you for you time.
John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com IT: 818-746-4330

lames Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
994-5626. You can also visit us on our Chase Mobile® app or on chase.com . Chase Mobile® app is
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 made available through Chase Insurance Agency, Inc. (CIA), a licensed insurance agency, doing business as Chase Insurance
 Agency Services, Inc. in Florida. JPMS and CIA are affiliates of JPMorgan Chase Bank, NA Products not available in all states.

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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 82 of 147




From:                 "Torres, John" <john .torres@chase .com>
Sent:                Tue, 10 Oct 201715:36:37 -0600
To:                  "Myron Cherry" <mcherry@cherry-law.com>; "Jason Van Eman"
<weathervaneproductions@yahoo.com>
Cc:                  "Benjamin McConley" <bmcconley@aol.com>
Subject:             Re: 9mm




Good afternoon gentlemen,

I am just waiting for the FED reference number, it is all set up and should be seeing the 9m. I
just wanted to update you, I want to apologize for not contacting earlier, I took a few minutes
from a meeting to send this email.

I will update you once I receive the FED reference number.
John Torres I Chase Private Client I Private Client Banker! NMLS ID 1082330 I 20900 Ventura Blvd,
Woodland Hills, California 91364 I John.Torres@chase.com IT: 818-746-4330

James Kirkham I Branch Manager I james.w.kirkham@chase.com IT: 818-746-4324

If you have any questions, please contact me or call your 24/7 U.S. based banking service line at 1-888-
994-5626. You can also visit us on our Chase Mobile® app or on chase.com. Chase Mobile® app is
available for select mobile devices. Enroll in Chase Online5M or on the Chase Mobile® app. Message and
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 made available through Chase Insurance Agency , Inc. (CIA), a licensed insurance agency , doing business as Chase Insurance
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CHASE0


April 12. 1018



Forrf-~I Caritr'll Pr'lrlnPr,, lrir
401 E La;; Ola:.. Blvd ~lllte 1     ~o
Ft LaudNdale Florida 3330 l




M, Ben1c1mm anCI Mr Vanlmc111

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working with you 1n the luture

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Vrre Pres.Iden1
Private Client Banker
(818) 746-4:130




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    Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 85 of 147




CHASEO



Aprll 12, 2018



Forrest Citp!UI Pilrtnets, Int
401 E La-s Ola.!i Blvd Suite 130
H Umderdate Florida 33301

RE; Weathervane Productions.- Dr. Bird\ Adw·e Prorllt,11r.m


Mr. McConley and Mr. VanEman

Per your request, !his letter is to c.onflrm w~ have r ~c:t'1vPd ,md proc~ssed your wire 1nstruct1om for the
referenced project. ihe uedit LJne .1llow11i>d fo, funding hil~ I11-T!'n approved and we do nor anticipate
any tutur~ delii1V5 ln completing the instruc:li<)n!i you pmv1det.i our wmpli;;inn'! ,rnd wire deputment .
This wire wlll be execute<l on April 13, 7018 in th~ ;1111ow11 of $ t ,870.00U .,nd shall be Sf!!nt lo your
project ;iccount provided 10 our team Pteast, kfl:'Jl 111 rrund; wirP.s c;tn take up to two busmess day~ to
post.

Again, we hilve pro(essed ilnd appro11ed the wlf'e ta gn oul on bt>half WVP, for l)r 8ird 1 ~ Advice
Production.

Thank you once again for patience arid your continued busine-s!, with CHASE Bank and I look forward to
workmg with you m the future .

Sinr.~rely,


 ~
JOHN TORRES
Vl~e Prt"sident
Privste Clie,nt Bilnker
(81B) 746-4330
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1111 Verizon LTE            2:19 PM


                                                           CD
                              John




                                Need your bank info

    Eastern Worldwide Corp
    23901 Calabasas Rd Ste 2002
    Calabasas, CA 91302

    Account: 127534705
    Routing: 122016066

                                            What bank?

    Citi national

                          CitibAnk or City National?
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                                                                                                                                                                  EXHIBIT

                                                                                                                                                     j            2.I
BankofAmerica ♦
 P.O. Bux 1G284
 Wilmins>ton, DE 188jl)
                                                                                                             Customer service information


                                                                                                       •>)   1.888.BUSINESS (7 .888.287.4637)

                                                                                                       ~     bankofamerica.com
   GUARDIAN TRUST ENTERPRISES INC
                                                                                                             Bank of America , N.A.
   13428 MAXELL.A AVE #222
                                                                                                             P.O. Box 25118
   MARINA DEL REY, CA 90292-5620
                                                                                                             Tampa , FL 33622-5118




Your Business Advantage Checking
for December 1, 2017 to December 31, 2017                                                           Account number: 3250 821 7 9139
GUARDIAN TRUST ENTERPRISES INC

Account summary
Beginning balance on December 1, 201 7                                       $130,082.56        # of deposits/credits: 3
Deposits and other credits                                                    345,000.00       # of withdrawals/ debits: 36
Withdrawals and other debits                                                 -391 ,052.66      # of items-previous cycle' : 15
Checks                                                                        -57,914.00       # of days in cycle: 31
Service fees                                                                      -240.00      Average ledger balance: $81,462.26

Ending balance on December 31, 2017                                         $25,875.90         'Includes checks paid.deposited items&other debits




        Bank of America Business Advantage

                                     Dreading the shredding?
                                     Go paperless and make a statement
                                     • Eliminate storing and shredding
                                     • Get email reminders that link to your statements
                                     • View and download business sraremems anyr1me
          Online Banking            Just log in to Online Banking, and click on Profiles & Settings (in the upper right. next to Sign Out).
             TIP OF                 To enroll in Online Banking. visit bankofamerica.com/smallbusiness
          TII[ MONTII
                                                                                               l02017 Bank of America Corporation ' AR6FCKFN I SSM-06-17-0139 B



PULL: E CYCLE: 67   SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: CA2                                                                               Page 1 of 8
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GUARDIAN TRUST ENTERPRISES INC    I Account 11 3250821 7 9139 I December 1, 2017 to December 31, 2017

IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from t ime to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

        Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
        Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal , family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.



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                              ~~                                                                Your checking account
BankofAmerica ~
GUARDIAN TRUST ENTERPRISES INC    I Account # 3250 821 7 9139     December 1, 2017 to December 31, 201 7




Deposits and other credits
Date          Description                                                                                                                     Amount

12/11 / 17    WIRE TYPE:WIRE IN DATE: 171211 TIME:1204 ET TRN:2017121100305812                                                          225,000.00
              SEQ:P201712110018132/000006 ORIG:FCP MASTER HOLDING ACCO UN ID:2764496 SND BK:R
              ED RIVER BANK ID:065205264

12/12/ 17     WIRE TYPE:WIRE IN DATE: 171212 TIME:0917 ET TRN:2017121200210895                                                          100,000.00
              SEQ:20173450109600/000032 ORIG:REM MEDIA AND PRODUCTIONS ID:0060239453 SND
              BK:WHITNEY BANK ID:065400153

12/28/ 17     WIRE TYPE:WIRE IN DATE: 171228 TIME:1713 ET TRN:2017122800466939                                                            20,000.00
              SEQ:20173620277700/000884 ORIG:REM MEDIA AND PRODUCTIONS ID:0060239453 SND
              BK:WHITNEY BANK ID:065400153

Total deposits and other credits                                                                                                   $345,000.00



Withdrawals and other debits
Date          Descri ption                                                                                                                    Amount

12/01 / 17    Customer Withdrawal Image                                                                                                   -2,000.00

12/04/ 17     WIRE TYPE:WIRE OUT DATE:171204 TIME:1343 ET TRN:2017120400359722 SERVICE                                                   -53,000.00
              REF:441257 BNF:FCP MASTER HOLDING ACCOUNT ID:916931665 BNF BK:JPMORGAN CHASE
              BANK, N. ID:0002 PMT DET:D39 GH4DH2 Services

12/06/ 17     WIRE TYPE:WIRE OUT DATE:171206 TIME:1403 ET TRN :2017120600327095 SERVICE                                                  -33,000.00
              REF:009606 BNF:CERVERA REAL ESTATE INC. ID:9853732256 BNF BK: BANKUNITED, NA
              ID:267090594 PMT DET:PNJ4STNP4 Services

12/06/ 17     Customer Withdrawal Image                                                                                                   -2,000.00

12/08/ 17     WIRE TYPE:WIRE OUT DATE:171208 TIME:1247 ET TRN :2017120800289743 SERVICE                                                 -35,000.00
              REF:366549 BNF:FCP MASTER HOLDING ACCOUNT ID:916931665 BNF BK:JPMORGAN CHASE
              BANK, N. ID:0002 PMT DET:FCH T?MFJZ Services

12/12/ 17     WIRE TYPE:WIRE OUT DATE:171212 TIME:1002 ET TRN:2017121200226658 SERVICE                                                 -100,000.00
              REF:290378 BNF:FCP MASTER HOLDING ACCOUNT ID:916931665 BNF BK:JPMORGAN CHASE
              BANK, N. ID:0002 PMT DET:98E 8AY7ML Services

12/12/ 17     UNITED HEAL THCAR DES:EDI PAYMTS ID:920375659154 INDN:GUARDIAN TRUST        CO                                              -5,602.66
              ID:1411 289245 CTI< ADDITIONAL INFORMATION IS AVAILABLE FOR THIS PMT. CONTACT A
              TREASURY SALES OFFICER FOR ASSISTANCE.
                                                                                                                              continued on the next page




       t:lank of America Business Advantage

                                              Thank you for your business.
                                              Here's to your continued success.
                                              We're comm itted to finding the smartest pa d, to long-term growth for your business.
                                              Our small business speciali sts will wo1k to help yo u strengthen you r business and plan
                                              for the futu re. Please visit bankofamerlca.com/smallbuslness to learn more.

                                                                                                                 ARI.LD94V I SSM-02-17-0642 B



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GUARDIAN TRUST ENTERPRISES INC       I Account# 3250 8217 9139 I December 1, 2017 to December 31, 201 7



Withdrawals and other debits - continued
Date           Description                                                                                              Amount

12/13/17      WIRE TYPE:WIRE OUT DATE:171213 TIME:1410 ET TRN:2017121300324893 SERVICE                              -800.00
              REF:010268 BNF:CERVERA REAL ESTATE INC ID:9853732256 BNF BK:B ANKUNITED, NA
              ID:267090594 PMT DET:2RAR3TCQX Other

12/13/ 17     Customer Withdrawal Image                                                                           -1,650.00

12/13/17      Customer Withdrawal Image                                                                           -1,500.00
12/14/17      WIRE TYPE:WIRE OUT DATE:171214 TIME:1202 ET TRN:2017121400289579 SERVICE                           -50,000.00
              REF:371914 BNF:FCP MASTER HOLDING ACCOUNT ID:916931665 BNF BK:JPMORGAN CHASE
              BANK, N. ID:0002 PMT DET:VKL 9NU2BG Services

12/15/17      FL TLR transfer to CHK 1063                                                                        -20,000.00

12/18/17      WIRE TYPE:WIRE OUT DATE:171218 TIME:1254 ET TRN:2017121800367623 SERVICE                           -25,000.00
              REF:446228 BNF:FCP MASTER HOLDING ACCOUNT ID:916931665 BNF BK:JPMORGAN CHASE
              BANK, N. ID:0002 PMT DET:FAF S56GLG Services

12/18/17      WIRE TYPE:WIRE OUT DATE:171218 TIME:1303 ET TRN:2017121800371141 SERVICE                           -10,000.00
              REF:009594 BNF:SUPREME TITLE AND ESCROW I ID:9853927715 BNF BK:BANKUNITED, NA
              ID:267090594 PMT DET:WUN6XKH W6 /ACC/OCean Skye Production Partners

12/18/17      FL TLR transfer to CHK 1063                                                                        -10,000.00

12/19/17      FL TLR transfer to CHK 0901                                                                         -2,500.00

12/19/ 17     FL TLR transfer to CHK 1063                                                                         -5,000.00

12/20/17      CA TLR cash withdrawal from CHK 9139                                                                -7,500.00

12/20/17      CA TLR transfer to CHK 1063                                                                        -20,000.00

12/26/17      Customer Withdrawal Image                                                                           -6,500.00

Total withdrawals and other debits                                                                          -$391,052.66




Checks
Date          Check II                               Amount                  Date         Check II                  Amount

12/08/17      ~                                      -14.00                  12/22/17     !1543                   -5,000.00
12/13/17      lli!l*                              -4,000.00                  12/26/17     !SAS*                  -20,000.00
12/21/17      llSAO*                              -4,000.00                  12/26/17     ~                       -2,400.00
12/22/17      &S.!12 *                           -12,000.00                  12/26/17     ~                      -10,500.00
                                                                            Total checks                      -$57,914.00
                                                                            Total # of checks                               8
' There is a gap in sequential check numbers




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                                                                                                   Your checking account
Bank of America ~
GUARDIAN TRUST ENTERPRISES INC I Account# 3250 8217 9139                December 1, 2017 to December 31, 2017



Service fees
   Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                               Total for this period               Total year-to-date

   Total Overdraft fees                               $0.00                              $0.00

   Total NSF: Returned Item fees                      $0.00                             $35.00

   To help avoid overdraft and returned item fees, you can set up:
       Customized alerts - get email or text message alerts (footnote 1) to let you know if your balance is low
       Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
   To enroll, go to bankofamerica.com/online, call us at the number listed on this statement, or come see us at your nearest financial
   center.
   (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
   provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.

Your qualifying monthly fee waiver activity:
You are an active user of one of the following services                OR     At least one of the following occurred during the
                                                                              previous month
 Q     Bank of America Mcrch<1nt Services                                      0      $2,500+       in new net purchases on a linked
                                                                                                    Business credit card

 Q     Payroll Services                                                        ✓      $15,000+      average monthly balance in
                                                                                                    primary checking account

                                                                               ✓      $35,000+      combined aver<1ge monthly
                                                                                                    bal<1nce in linked business
                                                                                                    accounts

 A check mark indicates that you have qualified for a monthly fee waiver on the account based on your usage of these products or services.
 For information on how to open il new product or to link an existing service to your account please call 1-888-BUSINESS or visit
 bankofameri ca.com/smal Ibusiness.

Date           Transaction description                                                                                                    Amount
12/04/17       Wire Transfer Fee                                                                                                             -30.00

12/06/17       Wire Transfer Fee                                                                                                             -30.00

12/08/17       Wire Transfer Fee                                                                                                             -30.00
12/12/17       Wire Transfer Fee                                                                                                             -30.00
12/13/17       Wire Transfer Fee                                                                                                             -30.00
12/14/17      Wire Transfer Fee                                                                                                              -30.00
12/18/17       Wire Transfer Fee                                                                                                             -30.00
12/18/17      Wire Transfer Fee                                                                                                              -30.00

Total service fees                                                                                                                     -$240.00
Note your Ending Bo/once already reflects the subtraction of Service Fees.




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GUARDIAN TRUST ENTERPRISES INC    I Account# 3250 8217 9139 I December 1, 2017 to December 31, 2017



Daily ledger balances
Date                         Balance($)     Date                             Balance($)   Date                Balance($)

12/01                      128,082.56       12/13                          276,365.90     12/20               66,275.90
12/04                        75,052.56      12/14                          166,335.90     12/21               62,275.90
12/06                        40,022.56      12/15                          146,335.90     12/22               45,275.90
12/08                            4,978.56   12/18                          101 ,275.90    12/26                5,875.90
12/11                      229,978.56       12/19                           93,775.90     12/28              25,875.90
12/12                      224,345.90




                                                                                                      Page 6 of 8
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Bank of America ~
GUARDIAN TRUST ENTERPRISES INC                             I Account 11 3250 8217 9139 I December 1, 2017 to December 31, 2017

Check images
Account number: 3250 8217 9139
Check number: 4526 I Amount: $14.00                                                          Check number: 4530      I Amount: $4,000.00
                  •- - l l n t ~ t H I I I I C                                 4526
                               )aa~N.'fWI
                            . . . . . . ,UCtcx.tU




                                                                                               ""


Check number: 4540                       I Amount: $4,000.00                                 Check number: 4542      I Amount: $12,000.00




  ...,.



Check number: 4543 I Amount: $5,000.00                                                       Check number: 4545 I Amount: $20,000.00
                                                                              4643

                                                     ""'    /£-tq.17




Check number: 4546                      I Amount: $2,400.00                                  Check number: 4547      I Amount: $10,500.00

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GUARDIAN TRUST ENTERPRISES INC   I Account# 3250 8217 9139 I December 1, 2017 to December 31, 201 7




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                GUARDIAN TRUST ENTERPRl~ES INC
                         1~4~8 MAX~llA AV~#~,,
                       MARINA OEl REY, CA oo~i-oo~O




   ACH R/T 121000358




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     Bank of America ♦                                                                      Business Advantage
      P.O. ll11x 15284
      Wilmin:rt"n, DE WR,~l
                                                                                                      Customer service information


                                                                                                •J)   1.888.BUSINESS (l .888.287.4637)

                                                                                                ~     bankofamerica.com
        GUARDIAN TRUST ENTERPRISES INC
                                                                                            •         Bank of America, N.A.
        13428 MAXELLA AVE #222
                                                                                                      P.O. Box 25118
        MARINA DEL REY, CA 90292-5620                                                                 Tampa, FL 33622-5118




     Your Business Advantage Checking
     for February 1, 2018 to February 28, 2018                                             Account number: 3250 8217 9139
     GUARDIAN TRUST ENTERPRISES INC

     Account summary
     Beginning balance on February 1, 2018                                $7,644.62    # of deposits/ credits: 18
     Deposits and other credits                                          117,381 .33   # of withdrawals/ debits: 47
     Withdrawals and other debits                                        -32,988.05    # of items-previous cycle 1: 11
     Checks                                                              -89,812.03    # of days in cycle: 28

     Service fees                                                           -310.00    Average ledger balance: $4,427.75
     Ending balance on February 28, 2018                                 $1,915.87     'Includes checks paid.deposited items&other debits




•I




     PU LL: E CYCLE: 67   SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: CAB                                                          Page 1 of 8
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GUARDIAN TRUST ENTERPRISES INC    I Account II 3250 8217 9139 I February 1, 2018 to February 28, 2018

IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

        Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
        Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (1 0 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.



(0 2018 Bank of America Corporation


                          Bank of America, N.A. Member FDIC and     -G), Equal Housing Lender




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                               ~~                                                         Your checking account
BankofAmerica ~
GUARDIAN TRUST ENTERPRISES INC   I Account If 3250821 7 9139   February 1, 2018 to February 28, 2018




Deposits and other credits
Date         Description                                                                                                 Amount

02/13/18     RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 02-12)                                                         2,80133

02/13/18     RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 02-12)                                                         2,500.00

02/13/18     Counter Credit                                                                                           7,500.00

02/,14/18    RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 02-13)                                                       14,000.00

02/14/1 8    Counter Credit                                                                                           9,500.00

02/14/1 8    Counter Credit                                                                                           5,000.00

02/14/ 18    FL TLR transfer                                                                                          2,000.00

02/16/ 18    RETURN OF POSTED CHECK / ITEM (RECEIVED ON 02-15)                                                      30,310.00

02/21/18     RETURN OF POSTED CHECK / ITEM (RECEIVED ON 02-20)                                                        4,000.00

02/22/18     RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 02-21)                                                       30,310.00

02/22/18     RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 02-21)                                                         6,000.00

02/28/18     RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 02-27)                                                         1,600.00

02/28/18     Online Banking transfer from CHK 9294 Confirmation# 6484749951                                           1,100.00

02/28/18     Online Banking transfer from CHK 9786 Confirmation# 6184752218                                             350.00

02/28/18     Fee Refund                                                                                                 280.00

02/28/18     Online Banking transfer from CHK 9281 Confirmation# 6284757947                                               50.00

02/28/18     Online Banking transfer from CHK 9773 Confirmation# 7484755895                                               50.00

02/28/18    WIRE TRANSFER FEE REFUND                                                                                      30.00

Total deposits and other credits                                                                             $117,381.33



Withdrawals and other debits
Date        PC5CCiPtion
02/01/18    FL TLR cash withdrawal from CHK 9139                                                                    -2,000.00
                                                                                                       continued on the next poge




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GUARDIAN TRUST ENTERPRISES INC    I Account 11 3250 8217 9139 I February 1, 2018 to February 28, 2018



Withdrawals and other debits - continued
02/07/18     FPL DIRECT DEBIT DES:ELEC PYMT ID:0722735115 TELV INDN:REM INTERNATIONAL LLC                co                    -547,28
             ID:3590247775 TEL
02/07/18     FPL DIRECT DEBIT DES:ELEC PYMT ID:4768382188 TELV INDN:REM INTERNATIONAL LLC                co                    -149.80
             ID:3590247775 TEL
02/08/18     FL TLR transfer to CHK 0901                                                                                       -250.00
02/09/18     FPL DIRECT DEBIT DES:ELEC PYMT ID:4889592186 TELV INDN:REM INTERNATIONAL LLC                co                      -76.20
             ID:3590247775 TEL
02/12/18     FL TLR transfer to CHK 9809                                                                                    -2,500.00
02/12/18     UNITED HEAL THCAR DES:EDI PAYMTS ID:920375608673 INDN:GUARDIAN TRUST      CO                                   -2,801.33
             ID:1411289245 CTX ADDITIONAL INFORMATION IS AVAILABLE FOR THIS PMT. CONTACT A
             TREASURY SALES OFFICER FOR ASSISTANCE.
02/12/18     GMFinancia    DES:GMFinancia ID:000461582991 INDN:000461582991                 CO                              -2,500.00
             ID:9405643002 TEL
02/12/18     ATT         DES:Payment       ID:XXXXXXXXXEPAYT INDN:50488               CO ID:9864031006                         -750.11
             CCD
02/12/18     WU GMFinan     DES:WU GMFinan ID:000461582991 INDN:000461582991                   co                                 -7.50
             ID:9405643002 TEL
02/13/18     Customer Withdrawal Image                                                                                      -2,400.00
02/14/18     FL TLR transfer to CHK 9809                                                                                    -5,000.00
02/16/18     GMFinancia    DES:RETRY PYMT ID:000461582991 INDN:000461582991                  co                             -2,500.00
             ID:9405643002 TEL
02/16/18     Neiman Marcus DES:Phone Pmt ID:000001878391387 INDN:LIVIA MCCONLEY                     co                      -2,000.00
             ID:9541719425 PPD
02/ 16/18    NORDSTROM       DES:PAYMENT        ID:043000098238090 INDN:MCCONLEY LIVIA              co                      -1,000.00
             ID:9044013368 TEL
02/20/18     Online Banking transfer to CHK 9294 Confirmation/I 2315843044                                                  -2,000.00
02/20/18     WIRE TYPE:WIRE OUT DATE:180220 TIME:1617 ET TRN:2018022000534162 SERVICE                                       -4,000.00
             REF:016752 BNF:EASTERN WORLDWIDE CORP ID:127534705 BNF BK:CIT Y NATIONAL BANK
             ID:122016066 PMT DET:LPZSUNNNV Ser vices
Card account II XXXX XXXX XXXX 1601

02/01/18     CHECKCARD 0131 CHEVRON 0091925 WOODLAND HILLCA 24692168031100205508376 CKCD                                        -74.74
             5542 XXXXXXXXXXXXl 601 XXXX XXXX XXXX 1601
02/08/18     CHECKCARD 0206 AMERICAN AIROOl 21716291 FORT WORTH TX                                                            -493.29
             24431068038978001197853 CKCD 3001 XXXXXXXXXXXXl 601 XXXX XXXX XXXX 1601
02/08/18     CHECKCARD 0206 AMERICAN AIR00106169478 FORT WORTH TX                                                             -111.81
             24431068038978002243318 CKCD 3001 XXXXXXXXXXXXl 601 XXXX XXXX XXXX 1601
02/09/18     TOYS R US 11675 02/09 /1000703484 PURCHASE TOYS R US 116755         CORAL SPRINGS FL                               -49.99
02/12/18     CHECKCARD 0209 CHEVRON 0210765 POMPANO BEACHFL 24692168040100663325882 CKCD                                        -40.50
             5542 XXXXXXXXXXXXl 601 XXXX XXXX XXXX 1601
02/20/ 18    BKOFAMERICA ATM 02/1911000007773 WITHDRWL KEY BISCAYNE                KEY BISCAYNE FL                            -500.00
02/20/18    BKOFAMERICA ATM 02/20 #000007932 WITHDRWL KEY BISCAYNE                 KEY BISCAYNE FL                            -500.00
Subtotal for card account # XXXX XXXX XXXX 1 601                                                                       -$1,770.33
Card account II XXXX XXXX XXXX 1 668

02/01/18     CHECKCARD 0130 FINANCIALED800860806 800 -8608068 UT 24760628031474300493200                                         -9.95
             CKCD 7392 XXXXXXXXXXXXl 668 XXXX XXXX XXXX 1668
02/22/ 18    CHECKCARD 0221 CHILI'S SHAWNEE SHAWNEE            OK 24231688053081021053110 CKCD                                  -39.94
             5812 XXXXXXXXXXXXl 668 XXXX XXXX XXXX 1668
02/22/18     FOOD MART 11112 02/22 /1000830988 PURCHASE FOOD MART 11112            NORTH LITTLE AR                              -50.00
                                                                                                              continued on the next page




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                                 ~~                                                                   Your checking account
BankofAmerica ~
GUARDIAN TRUST ENTERPRISES INC        I Account# 3250 8217 9139         February 1, 2018 to February 28, 2018




Withdrawals and other debits - continued
Dau:           oewiptiao                                                                                                                       Amount
02/ 23/ 18     CHECKCARD 0222 RENAISSANCE OKC CONVEN OKLAHOMA CITYOK                                                                           -360.58
               24692168053100896894716 CKCD 3530 XXXXXXXXXXXXl 668 XXXX XXXX XXXX 1668
02/28/18       CHECKCARD 0228 COMCAST DADE CS 1X 800-266-2278 FL 24692168059100735045706 CKCD                                                  -275.03
               4899 XXXXXXXXXXXXl 668 XXXX XXXX XXXX 1668
Subtotal for card account ll       xxxx xxxx xxxx J668                                                                                    -S735 so
Total withdrawals and other debits                                                                                                   -$32 ,988.05


Checks
Date           Check II                                    Amoun t                 Date             Check II                                    Amount

02/16/18      2920                                        -973.03                  02/13/18         ~·                                      -2,594.00
02/20/18      ~·                                        -4,000.00                  02/15/18         .4.5.50
                                                                                                    :4.SS!)•
                                                                                                                                          -30,310.00
              4513*
                                                                                                    ~-
02/13/18                                               -14,000.00                  02/21/18                                               -30,310.00
02/21/18      ~                                         -6,000.00                  02/ 27/18                                                -1,600.00
02/05/18      453.8*                                        -25.00
                                                                                   Total checks                                       -$89,812.03
                                                                                   Total # of checks                                                   9
• Th ere is a gap in sequential check numbers



Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                Total for this period              Total year-to-date           We refunded to you a total of
                                                                                                                $280.00 in fees for Overdraft
  Total Overdraft fees                                 $0.00                               SO.DO                and/or NSF: Returned Items
                                                                                                                this statement period and a
  Total NSF: Returned Item fees                       $280.00                             $280.00               total of $280.00 in fees for
                                                                                                                Overdraft and/or NSF:
                                                                                                                Returned Items this year.


  To help avoid overdraft and returned item fees, you can set up:
       Customized alerts - get email or text message alerts (footnote 1) to let you know if your balance is low
       Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
  To enroll, go to bankofamerica .com/ online, call us at the number listed on this statement, or come see us at your nearest financial
  center.
  (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
  provider. This feature is not available on the Mobile website. Wireless carrier fees may apply.

                                                                                                                              continued on the next page




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GUARDIAN TRUST ENTERPRISES INC            I Account# 3250 821 7 9139 I February 1, 2018 to February 28, 2018



Service fees - continued
The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 01/31 /18. A check mark below
indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.

 Q      $2,500+ in new net purcllilses on il linked Business credit card

 ✓      $15,000+ average monthly balance in primary checking account

 ✓      $35,000+ combined average monthl y balance in linked business accounts

 Q      active use of Bank of America Mcrchilnt Services

 Q      active use of Pilyroll Services

 A check milrk indicates that you have qualified for a monthly fee waiver on the account based on your usage of these products or services,
 For information on how to open a new product or to link iln existing service to your account please call 1-888-BUSINESS or visit
 b,rnkofamNica.com/smallbusincss,

Date           Transaction description                                                                                                  Amount

02/12/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-12                                                                             -35.00

02/12/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-12                                                                             -35.00

02/13/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-13                                                                             -35.00

02/15/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-15                                                                             -35.00

02/20/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-20                                                                             -35.00

02/20/18       Wire Transfer Fee                                                                                                        -30.00

02/21 /18      NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-21                                                                             -35.00

02/21/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-21                                                                             -35.00

02/27/18       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 02-27                                                                             -35.00

Total service fees                                                                                                                  -$310.00
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance($)      Date                              Balance($)   Date                             Balance($)

02/01                                 5,559.93       02/13                           -11,040.55     02/21                           -35,493.58

02/05                                 5,534.93       02/14                            14,459.45     02/22                              726.48
02/07                                4,837.85        02/15                           -15,885.55     02/23                              365.90

02/08                                3,982.75        02/16                             7,951.42     02/27                            -1,269.10

02/09                                3,856.56       02/20                             -3 ,113.58    02/28                            1,915.87
02/12                               -4,812.88




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Bank of America ~
GUARDIAN TRUST ENTERPRISES INC                                    I Account 11 3250 8217 9139 I February 1, 2018 to February 28, 2018

Check images
Account number: 3250 8217 9139
Check number: 2920 I Amount: $973.03                                                               Check number: 4538                I Amount: $25.00

                                                                                          Z92D                 GIIMDWl l1WSUIITUIPll1H8 INC             4538
                                                                                                                       I\GINUnl.\Ulm
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                                                                  211-0005883199-032

 Memo 6-0353<11125576086 58900119B750                     Aulhcm:td by yourO.po1ilor0211.5118




Check number: 4549                            I Amount: $2,594.00




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GUARDIAN TRUST ENTERPRISES INC   I Account# 3250 8217 9139 I February 1, 2018 to February 28, 2018




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                    TARZANA, CA 91358-5322
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         Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 106 of 147

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                  18627 ROCOSO PL                                r1                 8583
    IL
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                      BENJAMIN F McCONLEY
                      18627 ROCOSO PL                                                   Fl                                            8581
                      TARZANA, CA 91356•5322                                                                                     11-35/1210 CA
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                     BENJAMIN FMcCONLEY
                    18627 ROCOSO PL                                                                             8581
                    TARZANA, CA 91356•5322                                                                   11-3M2!0 CA
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             Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 111 of 147
                                                                                                                                                                                                        EXHIBIT

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Bank of America ~
 P.O. BllX !G284
 \Vilmin~on, DE HlRGO
                                                                                                                                         Customer service information


                                                                                                                                   •l)   1.888.BUSINESS (1.888.287.4637)

                                                                                                                                    ~    bankofamerica,com
  GUARDIAN TRUST ENTERPRISES INC
                                                                                                                                         Bank of America, N.A.
  13428 MAXELLA AVE #222
                                                                                                                                         P.O. Box 25118
  MARINA DEL REY, CA 90292-5620                                                                                                          Tampa, FL 33622-5118




Your Business Advantage Checking
for November 1, 2017 to November 30, 2017                                                                                       Account number: 3250 8217 9139
GUARDIAN TRUST ENTERPRISES INC

Account summary
Beginning balance on November 1, 2017                                                         $129,565.00                 II of deposits/credits: 2
Deposits and other credits                                                                      372,777 .00               II of withdrawals/debits: 32
Withdrawals and other debits                                                                   -276,712.59                # of items-previous cycle': 7
Checks                                                                                           -95,391 .85              # of days in cycle: 30
Service fees                                                                                          -155.00             Average ledger balance: $165,624.32

Ending balance on November 30, 2017                                                        $130,082.56                    'Includes checks paid.deposited items&other debits




        Bank ot America Business Advantage


                                 Banking at your fingertips
                                 Mobile Banking' allows you to manage your business account on the go.
                                 Download our free Mobile Banking app at bankofamerica.com/getmobileapp.
          Online Banking
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          THE MONTH              Online Bilnking Service Agreement at bankofameric.1 com/serviceagrccment for more information Data connection required. Wireless Cilrrier fees may apply.
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PULL: E CYCLE: 67 SPEC: E DELIVERY: E TYPE:      IMAGE: I BC: CA7                                                                                                                 Page 1 of 8
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GUARDIAN TRUST ENTERPRISES INC    I Account# 3250 8217 9139 I November 1, 2017 to November 30, 2017

IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared .

        Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
        Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have-direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.



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                                 ~~                                                                        Your checking account
BankofAmerica ~
GUARDIAN TRUST ENTERPRISES INC       I Account # 3250 821 7 9139      November 1, 201 7 to November 30, 201 7




Deposits and other credits
Date           Description                                                                                                                               Amount

11/15/ 17      CA TLR transfer                                                                                                                    300,000.00

11 /17 / 17    Counter Credit                                                                                                                      72,777.00

Total deposits and other credits                                                                                                              $372,777.00



Withdrawals and other debits
Date           Description                                                                                                                               Amou nt

11/03/17       FL TLR transfer to CHK 0901                                                                                                         -5,000.00

11/03/17       Customer Withdrawal Image                                                                                                           -4,200.00

11/14/17       Customer Withdrawal Image                                                                                                           -8,000.00

11 / 15/ 17    Customer Withdrawal Image                                                                                                           -7,000.00

11 / 17/17     FL TLR cash withdrawal from CHK 9139                                                                                                -8,000.00

11 / 17/17     FL TLR transfer to CHK 1063                                                                                                        -30,000.00

11/17/17       WIRE TYPE:WIRE OUT DATE:171117 TIME:1605 ET TRN:2017111700366878 SERVICE                                                           -72.777.00
               REF :012958 BNF:ILLUMINATE HOLLYWOOD ID:024931323 BNF BK:CITY NATIONAL BANK
               ID: 122016066 PMT DET:SVUFXET3V Servi ces

11/17/ 17      Customer Withdrawal Image                                                                                                          -72.777.00

11/17/17       Customer Withdrawal Image                                                                                                           -2,500.00

11 /20/ 17     ELECTRONIC TRANS FROM 325082179139 957511173109171                                                                                  -7 ,763.14

11 / 28/ 17    FL TLR cash withdrawal from CHK 9139                                                                                                -8,000.00

l l /28/ 17    Customer With drawal Image                                                                                                         -12,000.00

11/30/ 17      FL TLR cash withdrawal from CHK 9139                                                                                                -9,000.00

11 /30/ 17     WIRE TYPE:WIRE OUT DATE:171130 TIME:1422 ET TRN:201711 3000407457 SERVICE                                                          -28,000.00
               REF:016648 BNF:CERVERA REAL ESTATE INC. ID:9853732256 BNF BK: BANKUNITED, NA
               ID:267090594 PMT DET:FN5FN2SAP

11/30/17       ATT           DES:Payment    ID:XXXXXXXXXMBCl B INDN:50488                           CO ID:9864031003                               -1 ,695.45
               TEL

Total withdrawals and other debits                                                                                                          -$276,712.59




                                                           Join the Bank of America~ Advisory Panel. You can help
              How can we                                   us learn what we're doing right and what we can do better.
              improve your                                 To learn more and join, enter code SBDD at
              business banking?                            bankofamerica.com/advisorypanel today.

                                                           Inclusion on lhe Advisory Panel subjecl to quali cicalion s.
                                                           ©2017 Bank or America Corporation.                             SSM-06-17-0635.Al I AR687WH3



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GUARDIAN TRUST ENTERPRISES INC I Account 11 3250 8217 9139 I November 1, 2017 to November 30, 2017



Checks
Date           Check II                                    Amount                    Date            Check#                                  Amount
11/03/17       4501                                     -2,500.00                    11/14/17        fl.522                                -6,000.00
11/03/ 17      4Sll2                                    -1,500.00                    11 / 17117      ~                                        -25.00
11 / 07 /17    ~                                        -5,000.00                    11/17/17        ~                                       -63.00
11/07/17       ~                                       -17,000.00                    11/27/17        A525                                  -3,803.85
11/13/17       4505                                     -2,500.00                    11 / 30/17      !l52.Z·                               -2,000.00
11 / 15/ 17    !1509*                                  -20,000.00                    11 / 28/ 17     !152.8                           -12,000.00
11 / 13/1 7    il52l*                                  -15,000.00                    11 / 30/17      ~                                     -8,000.00
                                                                                     Total checks                                  -$95,391.85
                                                                                     Total# of checks                                            14
' The re is a gap in sequential check numbers



Service fees
   Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                Total for this period                Total year-to-date

   Total Overdraft fees                                $0.00                                $0.00

   Total NSF: Returned Item fees                       $0,00                                $35.00

   To help avoid overdraft and returned item fees, you can set up:
        Customized alerts - get email or text message alerts (footnote 1) to let you know if your balance is low
        Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
   To enroll, go to bankofamerica.com/online, call us at the number listed on th is statement, or come see us at your nearest finan cial
   center.
   (footnote 1) Alerts received as text messages on your mobile access device may incur a charge from your mobile access service
   provider. This feature is not available on the Mobile webs ite. Wireless carrier f ees may apply.

Your qualifying mont hly fee waiver activity:
At least one of t he following occurred
 Q      $250+ in new net purchas es on a linked Busi ness debit card

 Q      $250+ in new net purchases on a li nked Business credit card

 ✓      $3,000+ minimum dai ly ba lance in primary checking account

 ✓      $5,000+ ilVNage monthly balance in primary checking account

 ✓      $15,000+ co mbine!d average monthly ba lance in linked busi necss accounts

A check murk indicates thut you have qualified for a monthly foe waiver on the account based on your usage of these products or
services. For information on how to ope n a new product or to link an existing service to your account please call 1-888-BUSINESS or
visit bankofamcricu.com/ sm<Jllbusi ness .

Date           Transaction descript ion                                                                                                      Amount

11 /02/ 17     CHECK ORDER00318 DES:FEE               ID:1B413414                                                                            -95.00
               PMT INFO: PRODUCT(S): 58.45             S&H : 26.07 CA TAX: 10.48

11 /1 7/1 7    Wire Transfer Fee                                                                                                             -30.00

11 / 30/17     Wire Transfer Fee                                                                                                             -30.00

Total service fees                                                                                                                    -$155.00
Note your Ending Balance already reflects the subtraction of Service Fees.


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                                                                                        Your checking account
Bank of America ♦
GUARDIAN TRUST ENTERPRISES INC   I Account# 3250 8217 9139   November 1, 2017 to November 30, 2017




Daily ledger balances
Date                         Balance($)    Date                            Balance($)   Date                 Balance($)

l l /01                    129,565.00      11 /13                         76,770.00     11/20              214,611.86
11 /02                     129,470.00      l l /14                        62,770.00     11/27              210,808.01
11/03                      116,270.00      11 /15                       335,770.00      11/28              178,808.01
11/07                       94,270.00      11/17                        222,375.00      11/30              130,082.56




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GUARDIAN TRUST ENTERPRISES INC   I Account# 3250 8217 9139 I November 1, 2017 to November 30, 2017




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Bank of America ♦
 GUARDIAN TRUST ENTERPRISES INC            I Account# 3250 8217 9139 I November 1, 201 7 to November 30, 2017

Check images
Account number: 3250 8217 9139
Check number: 4501             I Amount: $2,500.00                          Check number: 4502                          I Amount: $1,500.00

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Check number: 4503          I Amount: $5,000.00                             Check number: 4504                         I Amount: $17,000.00
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Check number: 4505         I Amount: $2,500.00                              Check number: 4509                         I Amount: $20,000.00
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          GUAIIINAIS,~INC                                                                                   , . . Mlml.l.M,m
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Check number: 4521         I Amount: $15,000.00                             Check number: 4522                         I Amount: $6,000.00
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Check number: 4523         I Amount: $25.00                                 Check number: 4524 I Amount: $63.00


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Bank of America . . .
GUARDIAN TRUST ENTERPRISES INC                    I Account# 3250 821 7 9139 I November 1, 2017 to November 30, 2017

Check images - continued
Account number: 3250 8217 9139
Check number: 4525 I Amount: $3,803.85                                             Check number: 4527             I Amount: $2,000.00

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Check number: 4528              I Amount: $12,000.00                               Check number: 4529             I Amount: $8,000.00

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                    ! .... .-.:.·.· ····-:::.:.. _ __           • ..-- -::-- ... . . . . . ·: .--:-~ .,....:.. . :.· . .. . .                   ·. ·:.:-::::;-~-~-:---- . -····. ,,,;,.---:- ··~-::::-• - · ,.... . ;---;,;;-;-~g;,  -·-:.,,     ...... ,..                                                J
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         Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 125 of 147



Amount:               $7,500.00                        Sequence Number: 3052054186

Account:              4 57002931717                    Capture Date:        08/18/2017

Bank Number: 54086010                                                       1170011099




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       ..._.,_......._,_,..,.. . . N . . .

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       ..... .....--. n.. .... ....... __.. .....
                                                            Cashier's Check - CREDIT COPY
                                                                    Void After90 Days          91-170/1221
                                                                                                                No. 1170011099

                                                                                                               Dale 08/18/17 02:28:30 PM


                                                                  -1, I• 'OD
       TOPANGA CYN•VE'.111\iRA .                                                                  NAZ
       0017         00021~0072                          .
                                                 BANK Of~
              Pay                                AMERJCA~J u              JW.JCTSCJS                                     **$7,500.00**
       .. Seven Thousand Five Hundred and 0011 OQ. Dollar, ..
       To The        JOHN TORRES
       Order Of
                                                                                                                          Not-Negotiable
                                                                                                                             Credit Copy
       Rcminer (PUN:hacd By): BENJAMIN F MCCONLEY

       Bank of America, N.A.
       Pl IOENIX. AZ




   045008956                                                                                       Seq: 112
                                                                                                   Batch: 109711
                                                                                                   Date: 08/18/17




                                               5tQ :t911Z tl/11117
                                               BAT:119111 cc:1111,121,r                             Tr111 00072        08/18/2017 14:2'        NCA
                                              WT : U LTPS:Jachtn,il It PT                       ... II/Tl 54119JDll5 . ct 0002147 . Tlr 00017
                                               BC : Too1111 t11101-Vtolur1 IC CAl-191               Account         3.."50856110c\3
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                                                                                                    Official Cher.II ~le               $7 1 500,00
                                                                                                       et:CAl:Atmmmmm                01121




Electronic Endorsements:

Date                Sequence                 Bani<#          Endrs Type      TRN        RRC'       Bani< Name

08/18/2017          3052054186               122000661       Rtn Loc/BOFD    Y                     BANK OF AMERICA, NA




                                                                                                                                                     EXHIBIT
             Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 126 of 147
•   •    •   (   •• •    •   \   'If • -   • ....   •   I   ' 1 ,•   •   •   I   I   'Ill .\   .t,   I'   •   :       t ..
                                                                                                                                        '       .
        FCP MASTER HOLDING ACCOUNT, INC.
        21140 BRUNNELL CT                                                                                                                                                     8099
        TO'ANGA, CA 90~13
                                                                                                                                            ~0. I/¥• '~                              ~7162


        ;'.:~:-'t.:..!J:...L.f_J-l_ _ _ _ _ _ _j
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             ~IJ~(1 i110'1J,J.l>                                                                                  4' 0"/,oo-------~cmlS ~ E:,: .
    CHASEO                                                                             ' .
    JflMortM Chl1t l,ni. NA                                                                                                                         •   • •• ' •   • •   •   I • I       I   I    •   •   •·•   t 11 I   t   I




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    Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 127 of 147




OCEAN SKYE MEDIA &ENT~RTAINMENT, INC,
            ~11~~ BRUNN~ll Cl
            TOPAN~ CA ooioo




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  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 128 of 147




OC~N SKYE MEDIA &ENT~RTAINMENT, INC.
            ~114~ BRUNN~ll CT
            TOPAN~ CA ~~00
  Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 129 of 147




Fol _ _ _ _ _ _ __
 Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 130 of 147




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              Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 131 of 147

,mmm,i,,m111))1m)1)mm minimn1m1m1mmm1\I}\~\1?11~)~11111~nmnnmnm11111111111m1111m1w
     I BENJAMIN FMcCONLEY ~,.lt p4> ·.· ,ni                                          ,
             11627ROCOSOPL            i       85}~  W)                  8551 -~
     r lAAZANA, CA 8f3fi6.6.122 , 1,,             /                  11,31/l!IOCA ....

                             · · ..·· ·. . _lvl~n O,i                             !''~
                                                                                ~..,,

 I     aiu11U1 •                  _                                             ..

;,···>·               fJ4~ 1H~vt'Ar19. ~ °'' '~ at.                        ,l        OM~-



. JI   ·Bank of America♦           . -~ :--~: . ·-:: - - .-
       ACHPJTt21a                       ~      ·     ,
                                              . ,.       f• '
                                              . '

       '°'------
                       Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 132 of 147




   ALL IN J E •~
  T1·ip Information and Confirmation - 17052
  Prepared for:        RACK Consulting                                             Confirmed lVitb:      TRIP 17052
   I 732-882-6205
                                                                                   CrelV:       JAMES DENT                                          954-552-4654
  Aircraft:            CL-60 l 3ER I N329MD                                                     DANIEL MALLAMO                                      615-497-3838
                                                                                                JAN DENT                                            954-288-6307
  Prepared by:         DISPATCH 407-479-8901


  Date                 Depart    Deoarture Airoort                                      AniYe      Arrival Airoort                                   Flieht Time

  Leg I                 08/25    VNY - VAN NUYS                                          08/25     LAS - MC CARRAN INTL                                  0:54
  08/25/2017            6:00P    VANNUYS,CA                                              6:54P     LAS VEGAS, NV
  Friday                         SIGNATURE FLT SUPPORT WEST                                        SIGNATURE FLIGHT SUPPORT
                                 7240 HAYVENHURST PLACE                                            6005 LAS VEGAS BOULEYARD
                                 VAN NUYS. CA 91406                                                SOUTH
                                                                                                   LAS VEGAS, NV 89119
                                 818-464-9500                   Fax:818-464-9539                   702-739-1100        Fax:702-739-1241

  Passenger Manifest:                             Total Passengers = 9

  I. BENJAMIN MCCONLEY                                                                 2. LIVIA MCCONLEY
  3. SKYE MCCONLEY                                                                     4. AARON MCCONLEY
  5. GUSTA VO GULLO                                                                    6. ANN BACHAN
  7. ROB RETTBERG                                                                      8. REBECCA TORRES
  9. JOHN TORRES



  Catering - There will be a catering order delivered to Signature by about 3pm. It will contain the following:
  3 bottles of Dom Perignon Champagne I bottle of Grey Goose I bottle of Crown Royale I 12 pack of Stella


  Pax Transportation - Car Service




                                                                                                                                                      EXHIBIT

                                                                                                                                              I z.5
           3190 Ainuans Drive, Suite IOI, Ft. Pierce. FL 34946, Ph: 407-479-8900, Fax: 407-479-8903, Email: cha11er@allinjets.com, Website: \V\Vw.allinjets.com

08/24/20 I 7   20:S9                                                         BAR T-4-Windows                                                                      Page I of J
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 133 of 147

Cl Mail ••••• LTE            4:21 PM


 <•                           John
                                                           CD

                        Thursday 7:05 PM


    Hey ben she replied with:

    Luke: 3T clothing, 7 shoes.
    John: 5T clothing, 12 shoes .




                         Today 3:58 PM
                                                      •
                  Will see you tonight. We have
                  40 hours to drive but wanted to
                  be there tonight for you and
                  your wife so we decided to
                  leave at 5am. Hope you know I
                  love ya. Hahahah

    Good to hear, I appreciate you
    postponing your important trip
    to attend my wife's birthday
    event

                                           Will have fun
                                                     Delivered

                                                                    EXHIBIT
•••oo  Verizon LTE
 Case 3:23-cv-04238-LB      5:35
                       Document 1-3PM
                                    Filed 08/18/23 Page 134 of 147


                                                              CD
                                John




    Dude 11II need you to have his
    stop by

                            I need temp checks to the
                                .
                            savings

                       . Can gayle come get them?

   Cheese ball doesn•t allow
   transfers without CPC title with
   out l d1




    Brb
                       1
    Gayle wouldn t be able to

                           So you can't transfer funds
                           anymore?

                   Can we set FCP up to do wires
                   then?

                    Can we call customer service?
                                                        Delivered



                                                            0
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 135 of 147

. 111 Verizon LTE             11:02 AM              --1   *    100% 1             l•f


 <•                              John
                                                                          CD

                                   C
                                           L              ·'+...
                                                            I
                                   0
                                        ' .                l

                      I   BUSINESS ADVANTAGE CHK - 9294 eo1r



                      $134,104 .00
                      Available Balance (D




                      •   RECENT TRANSACTIONS


                      11/03/2017
                           Check 5504                              -$1,100.00
                                                                   $134,104.00


                      11/03/2017
                      l!!!;:J Check 5502                           -$3,800.00
                                                                   $135,204 .00


                      11/02/2017
                      CHECK ORDER00318 DES:FEE ID:                    -$31.00
                      18563054 INDN:FORREST CAPITAL                $139,004.00
                      PARTNE CO ID:0000000318 PPD
                      PMT INFO: PRODUCT(S): 0.00 S&H :
                      26.07 CA TAX: 4.93



                    Hey man If your at work. Alan
                    needs to have funds released.
                    You can see they have posted
                    against the account
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 136 of 147

,111 Verizon LTE            6:45 PM                 f 56%1• j,

                                                           CD
                              John




                               Thanks s00000 much
                                                      Delivered



                                                         0
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 137 of 147
■ 181 Verizon ?             11:58 AM


 <•                           John
                                                           CD
    out what kind of chips to give
    you




                        Yesterday 4:50 PM




                         Today 11:11 AM


                                       Good morning.

                                            Aland deposit

    All done bro

                                                      Xoxo

                                                      Haha
                                                     Delivered
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 138 of 147



r       MESSAGES


  My Queen
  Whatever is going on with you , your life and
_ business I wish everything works out good !!
    -           -
    before the call , so I can make
    an outline of what I'm
    confirming

                         Today 10:49 AM


    Ben I come in at 12

    I have a full schedule today

    *ben come in

                                    You go in at JJo.oo?


                                                     -
                                      I'll be there at 12

    No this stupid phone is
    retarded




    K see you here
                                                      -
                                                      D elivered




                                                         0
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 139 of 147




                                                  John
    Aaa1t1ona1 rrom-wnat you-nave-
    already transferred

                                                                              250 total
                                                                                       Delivered

    For now that should work

                                         Today 1:41 PM


    Sorry ben

    I'll call you right back


  D                                                                                        0

 Q W                  E           R           T         Y       U                      0        p
----   -          .____,       ----       -         -       '----------' ' - . - - J   --   ____,




    A     S D                          F          G         H         J            K       L
   ---- ------            '--------" ...____.,   ---     '---"    ----- ----- -
 ♦            ZXCVBNM@
           ,.________.,   ---- ---- -                    ...__,   ---- ----
 123       @                ~                      space                               return
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 140 of 147

,ad Verizon ?               11:58 AM


 <•                           John
                                                           CD
    out what kind of chips to give
    you



                       Yesterday 4:50 PM




                         Today 11 :11 AM


                                       Good morning.

                                           Aland deposit

    All done bro

                                                      Xoxo

                                                      Haha
                                                     Delivered



  151 8)
                                           Q
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 141 of 147
,, I Verizon LTE            6:12 PM                 f 83%1        )1

  Edit


  Messages
----------- -- -
              Alan Cell                           6:12 PM
              Hold



              John                        6:11 PM
              My magic stick changed the game



              Jason VanEman                       6:09PM

•             Sounds good



              Wee Wee & +1 (818) 41 ... 6:07 PM               >
              Anytime.



              Sean. Home Owner             5:25PM
              How would you like to make your
              payments? Wire is easiest but I'm to you

              My Queen                            5:13 PM :.,
              Love u



             Greg Ricker                          4:47 PM
              Egaming
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 142 of 147
,Ill Verizon LTE            9:03 PM               -'1100% ~     1
                                                                    +
  Edit


  Messages
              Wee Wee                               9:02 PM>
              Attachn1ent: 1 Image



              Alan Cell                            8:49 PM:>
              Oh yeah lol



              Wee Wee & Boskey                     8:46 PM>
              He been on it today



              My Queen                             7:08 PM;;
              I don't want you to pay more



              John                                 6:53 PM e>
              Ha



              Wee Wee, Big Lit, Beske ... 4:52 PM>
              Snuckforsure. Hahahaha



              Dr Pete                        3:38 PM>

•             Hello young man, are you ok? I worry
              about you.

     -
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 143 of 147
,Ill! Verizon ?     ~·~              10:59 PM

                                                Missed               Edit


  Recents
     Gayle Dickie
     mobile
                                                          10:53PM    CD
     Jason VanE man (3)
     ,nobile
                                                           8:21 PM   CD
     Alan Cell (2)
     phone
                                                           6:12PM    CD
     Jason VanEman
     mobile
                                                           6:01 PM   CD
     (954) 873- 7271
     Fort Lauderdale, FL
                                                           6:00PM    CD
     John
     work
                                                           5:56PM    CD
     (954 ) 873-7271
     Fort Lauderdale, FL
                                                           5:54PM    CD
     Jason VanEman (2)
     ,nobile
                                                           5:53PM    CD
    --•--•- ---- -- . - --- - ------ ·- -- ---- - -

                     0                 J.l               •••
                                                         •••
 Favorites         Recents           Contacts
                                                         •••
                                                      Keypad    Voicemail
Case 3:23-cv-04238-LB Document 1-3 Filed 08/18/23 Page 144 of 147

••••• Venzon LTE             1-·41 PM                           ~
                                                   --1 ~. 100% 1- H·
                  Touch to return to Navigation

                                    Missed                              Edit

      (818) 746-4330
      Los Angeles, CA
                                                   ·1 :40 Pi\11          CD
      John
      Los Angeles, CA


      Susie (2)
      home


      Richard Rossi
      FaceTime Audio
                                               ']2:05 Pl\~              CD
      Alan Cell
      Miami, FL
                                               '12:00 Pfv1              CD
      Jason VanEman                            "I I • '..) 7 A [\I,.1
                                                   •j · ,:,             CD
                                                                         1
                                                              t   '



      mobile


      My Queen
      Miami, FL
                                               10:35A.M                 CD
     Jason VanEman
     mobile
                                               10:29/l,M                CD
      +1 (954) 999-7334
     Fort Laud~r_9al~, FL
                                                   9:29 ,L\M            CD

   * •
                                             000
                              (j)            000
                                             000
  Favorites       Recents   Contacts      Keypad                  Voicernail
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